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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


     In re:                                                                         Chapter 11

     STRUCTURLAM MASS TIMBER U.S., INC., et al.,1                                   Case No. 23-10497 (CTG)

                                                    Debtors.                        (Jointly Administered)




                     SCHEDULES OF ASSETS AND LIABILITIES FOR
                STRUCTURLAM MASS TIMBER U.S., INC. (CASE NO. 23-10497)




1.    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number or
      Canadian business number, as applicable, include: Structurlam Mass Timber U.S., Inc. (6287); Natural Outcomes, LLC (n/a);
      Structurlam Mass Timber Corporation (5050); and SLP Holdings Ltd. (3114). The location of the Debtors’ headquarters is:
      2176 Government Street, Penticton, British Columbia, Canada V2A 8B5. The address of the registered agent for Structurlam
      Mass Timber U.S., Inc. is: 8 The Green, Suite A, Dover, Delaware 19901.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                         )
    In re:                                                               ) Chapter 11
                                                                         )
    STRUCTURLAM MASS TIMBER U.S., INC., et al., 1                        ) Case No. 23-10497 (CTG)
                                                                         )
                                                                         ) (Jointly Administered)
    Debtors.                                                             )
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        GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
         AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
           AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                    Introduction

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the “Schedules
and Statements”) filed by SLP Holdings Ltd. (“SLP”), Structurlam Mass Timber Corporation
(formerly SLP Operations Ltd., “SMTC”), Structurlam Mass Timber U.S., Inc. (“SMTU”), and
Natural Outcomes, LLC (“NOLLC” and together with SLP, SMTC, and SMTU, the “Company”)
as debtors and debtor-in-possession (collectively, the “Debtors”) in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”), were prepared in accordance with
section 521 of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by management of the Debtors,
with the assistance of the Debtors’ professional advisors, and are unaudited.

        The Schedules and Statements have been signed by Shawn Turkington, Interim Chief
Financial Officer (“CFO”) of the Company. Mr. Turkington has not (nor could have) personally
verified the accuracy of each statement and representation, including, for example, statements and
representations concerning amounts owed to creditors, classification of such amounts, and their
addresses. In addition, Mr. Turkington has not (nor could have) personally verified the
completeness of the Schedules and Statements, nor the accuracy of any information contained
therein. In reviewing and signing the Schedules and Statements, Mr. Turkington necessarily relied
upon various personnel of the Debtors and the Debtors’ professional advisors and their efforts,

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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number or Canadian business number, as applicable, include: Structurlam Mass Timber U.S.,
             Inc. (6287); Natural Outcomes, LLC (n/a); Structurlam Mass Timber Corporation (5050); and SLP Holdings
             Ltd. (3114). The location of the Debtors’ headquarters is: 2176 Government Street, Penticton, British
             Columbia, Canada V2A 8B5. The address of the registered agent for Structurlam Mass Timber U.S., Inc. is:
             8 The Green, Suite A, Dover, Delaware 19901.




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statements, and representations in connection therewith. Although management has made
reasonable efforts to ensure that the Schedules and Statements are accurate and complete based
upon information that was available to them at the time of preparation, subsequent information or
discovery thereof may result in material changes to the Schedules and Statements, and inadvertent
errors or omissions may exist.

        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of all of the Schedules and Statements. The Global
Notes should be referred to and reviewed in connection with any review of the Schedules and
Statements. The Global Notes are in addition to any specific notes contained in any Debtor’s
Schedules or Statements. Disclosure of information in one Schedule, Statement, exhibit, or
continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of the Debtors.

                           Global Notes and Overview of Methodology

1.       General Reservation of Rights. Although the Debtors’ management has made every
         reasonable effort to ensure that the Schedules and Statements are as accurate and complete
         as possible under the circumstances based on information that was available to them at the
         time of preparation, subsequent information or discovery may result in material changes to
         the Schedules and Statements, and inadvertent errors or omissions may have occurred,
         some of which may be material. Because the Schedules and Statements contain unaudited
         information, which remains subject to further review, verification, and potential
         adjustment, there can be no assurance that the Schedules and Statements are complete. The
         Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
         and all respects, as may be necessary or appropriate, including the right to dispute or
         otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
         as to amount, liability, or classification, or to otherwise subsequently designate any claim
         (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
         in the Schedules and Statements shall constitute an admission of any claims or a waiver of
         any of the Debtors’ rights with respect to these chapter 11 cases, including issues involving
         substantive consolidation, recharacterization, equitable subordination, and/or causes of
         action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant
         non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
         contained elsewhere in the Global Notes does not limit in any respect the general
         reservation of rights contained in this paragraph.

2.       Description of Case and “As Of” Information Date. On April 21, 2023 (the “Petition
         Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
         Code in the Bankruptcy Court. The Debtors continue to operate their business and manage
         their assets as a debtors-in-possession pursuant to sections 1107(a) and 1108 of the
         Bankruptcy Code. No request for the appointment of a trustee or examiner has been made

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         in these chapter 11 cases. Unless otherwise stated herein, assets and liabilities are reported
         as of April 21, 2023.

3.       Basis of Presentation. The Schedules and Statements purport to reflect the assets and
         liabilities of the Debtors. The Debtors reserve all rights relating to the legal ownership of
         assets and liabilities and nothing in the Schedules or Statements shall constitute a waiver
         or relinquishment of such rights. Information contained in the Schedules and Statements
         has been derived from the Debtors’ books and records. The Schedules and Statements do
         not purport to represent financial statements prepared in accordance with Generally
         Accepted Accounting Principles nor are they intended to be fully reconcilable to audited
         financial statements.

4.       Totals. All totals that are included in the Schedules and Statements represent totals of all
         known amounts included in the Debtors’ books and records. To the extent there are
         unknown or undetermined amounts, the actual totals may be different than the listed total,
         and the difference may be material. In addition, the amounts shown for total liabilities
         exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
         “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in
         the Schedules and Statements.

5.       Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets
         and liabilities from the Schedules and Statements, including but not limited to certain
         deferred expenses and deferred revenue items, lease assets and related lease liabilities and
         certain accrued liabilities. The Debtors have also excluded potential claims arising on
         account of the potential rejection of executory contracts and unexpired leases, to the extent
         such claims exist. Certain immaterial assets and liabilities that are not reported or tracked
         centrally may have been excluded.

6.       Amendments and Supplements; All Rights Reserved. Reasonable efforts have been
         made to prepare and file complete and accurate Schedules and Statements; inadvertent
         errors or omissions, however, may exist. The Debtors reserve all rights, but are not
         required, to amend and/or supplement the Schedules and Statements from time to time as
         is necessary and appropriate.

7.       References. References to applicable loan agreements and related documents are
         necessary for a complete description of the collateral and the nature, extent, and priority of
         liens and/or claims. Nothing in the Global Notes or the Schedules and Statements shall be
         deemed a modification or interpretation of the terms of such agreements.

8.       Currency. Amounts originally denominated in foreign currencies have been converted
         into U.S. dollar equivalents at the exchange rate as of April 20, 2023 for all assets and
         liabilities and at an average exchange rate for income statement and cash flow items.

9.       Book Value. Unless otherwise indicated, the Debtors’ assets and liabilities are shown on the
         basis of its net book values as of April 21, 2023. Thus, unless otherwise noted, the Schedules
         and Statements reflect the carrying value of the assets and liabilities as recorded on the


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         Debtors’ books. Net book values may vary, sometimes materially, from market values. The
         Debtors do not intend to amend these Schedules and Statements to reflect market values.

10.      Paid Claims. The Bankruptcy Court authorized the Debtors to pay certain outstanding
         prepetition Claims—including, but not limited to, payments to employees, taxes, critical
         vendors, shippers, and holders of claims under section 503(b)(9) of the Bankruptcy Code
         — pursuant to various “first day” orders entered by the Bankruptcy Court. Accordingly,
         certain outstanding liabilities as of the Petition Date may have been reduced by post-
         petition payments made on account of prepetition liabilities. Where the Schedules list
         creditors and set forth the Debtors’ scheduled amount of such Claims, such scheduled
         amounts reflect amounts owed as of the Petition Date, after incorporating invoices received
         post-petition for prepetition services. In addition, to the extent the Debtors later pay any
         of the Claims listed in the Schedules and Statements pursuant to any orders entered by the
         Bankruptcy Court, the Debtors reserve all rights to amend or supplement the Schedules
         and Statements or take other action, such as filing Claim objections, as is necessary and
         appropriate to avoid overpayment or duplicate payments for liabilities.

11.      Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
         correctly characterize, classify, categorize, or designate certain Claims, assets, executory
         contracts, unexpired leases, and other items reported in the Schedules and Statements, the
         Debtors nonetheless may have improperly characterized, classified, categorized, or
         designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
         recategorize, or re-designate items reported in the Schedules and Statements at a later time
         as they determine to be necessary and appropriate prior to any plan or disclosure statement
         being filed.

12.      Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
         classify properly each Claim listed in the Schedules as being either disputed or undisputed,
         liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
         able to fully reconcile all payments made to certain third-party entities on account of the
         Debtors’ obligations to both such entity and its affiliates. Therefore, to the extent that the
         Debtors have classified its estimate of Claims of a creditor as disputed, for example, all
         Claims of such creditor’s affiliates listed in the Schedules and Statements shall similarly be
         considered disputed, whether or not they are individually designated as such.

13.      Liabilities. The Debtors allocate liabilities between the prepetition and post-petition
         periods based on the information and research conducted in connection with the
         preparation of the Schedules and Statements. As additional information becomes available,
         and further research is conducted, particularly with respect to the Debtors’ payable
         accounts, the allocation of liabilities between the prepetition and post-petition periods may
         change. The Debtors reserve all rights to- amend the Schedules and Statements as they
         deem appropriate.

         The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
         under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
         rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of


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         the Bankruptcy Code or the characterization of the structure of any such transaction or any
         document or instrument related to any creditor’s Claim.

14.      Guarantees and Other Secondary Liability Claims. Where guarantees have been
         identified, they have been included in the relevant liability Schedule for the Debtors
         affected by such guarantee. The Debtors have also listed such guarantees on the applicable
         Schedule H. It is possible that certain guarantees embedded in the Debtors’ executory
         contracts, unexpired leases, secured financings, debt instruments, and other such
         agreements may have been inadvertently omitted. The Debtors reserve all rights to amend
         the Schedules to the extent that additional guarantees are identified or such guarantees are
         discovered to have expired or be unenforceable.

15.      Intercompany Claims. The net balance of intercompany transactions between the Debtors
         is set forth on Schedule A/B or Schedule E/F, as applicable, and receivables are classified
         as current assets. Intercompany transfers between Debtors are not captured on Statement 2
         or 3. The listing in the Schedules or Statement (including, without limitation, Schedule A/B
         or Schedule E/F) by the Debtors of any obligation between a Debtor and a Debtor is a
         statement of what appears in the Debtors’ books and records and does not reflect any
         admission or conclusion of the Debtors regarding whether such amount would be allowed
         as a Claim or how such obligations may be classified and/or characterized in a plan of
         reorganization or by the Bankruptcy Court. The Debtors reserve all rights with respect to
         such obligations.

16.      Intellectual Property Rights. Exclusion of certain intellectual property shall not be
         construed to be an admission that such intellectual property rights have been abandoned,
         have been terminated or otherwise expired by their terms, or have been assigned or
         otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
         inclusion of certain intellectual property shall not be construed to be an admission that such
         intellectual property rights have not been abandoned, have not been terminated or otherwise
         expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
         acquisition, or other transaction. The Debtors have made significant efforts to attribute
         intellectual property to the rightful Debtor owner. Accordingly, the Debtors reserve all
         rights with respect to the legal status of any and all such intellectual property rights.

17.      Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
         contracts or unexpired leases as assets in the Schedules and Statements. Instead, the
         Debtors’ executory contracts and unexpired leases have been set forth in Schedule G. In
         addition, while the Debtors have made diligent attempts to properly identify all executory
         contracts and unexpired leases, inadvertent errors, omissions, or over-inclusion may have
         occurred.

18.      Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
         “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
         given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
         does not constitute an admission by the Debtors that such amount is not “disputed,”
         “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
         reserve all rights to dispute any Claim reflected on their respective Schedules and

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         Statements on any grounds, including, without limitation, liability or classification, or to
         otherwise subsequently designate such Claims as “disputed,” “contingent,” or
         “unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
         the grounds that, among other things, the Claim has already been satisfied.

19.      Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all
         causes of action or potential causes of action against third parties as assets in the Schedules
         and Statements, including, without limitation, avoidance actions arising under chapter 5 of
         the Bankruptcy Code and actions under other relevant non-bankruptcy laws to recover
         assets. The Debtors reserve all of their rights for any claims, causes of action, or avoidance
         actions they may have, and neither these Global Notes nor the Schedules and Statements
         shall be deemed a waiver of any such claims, causes of actions, or avoidance actions or in
         any way prejudice or impair the assertion of such claims.

20.      Undetermined Amounts. Claim amounts that could not readily be quantified by the
         Debtors are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an
         amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
         materiality of such amount.

21.      Liens. Property and equipment listed in the Schedules and Statements are presented without
         consideration of any liens that may attach (or have attached) to such property or equipment.

22.      Employee Addresses. Current employee, former employee, and director addresses have
         been removed from entries listed throughout the Schedules and Statements, where
         applicable.

23.      Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
         management was required to make certain estimates and assumptions that affected the
         reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
         reported amounts of assets and liability to reflect changes in those estimates or assumptions.

24.      Credits and Adjustments. The claims of individual creditors for, among other things,
         goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
         and records and may not reflect credits, allowances, or other adjustments due from such
         creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
         allowances, and other adjustments, including the right to assert claims objections and/or
         setoffs with respect to the same.

25.      Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
         course of business. Offsets in the ordinary course can result from various items,
         including, without limitation, intercompany transactions, pricing discrepancies, returns,
         warranties, filebacks, negotiations and/or disputes between the Debtors and their vendors
         and customers. These offsets and other similar rights are consistent with the ordinary
         course of business in the Debtors’ industry and are not tracked separately. Therefore,
         although such offsets and other similar rights may have been accounted for when certain



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         amounts were included in the Schedules, offsets are not independently accounted for, and
         as such, are excluded from the Schedules.

26.      Global Notes Control. In the event that the Schedules and Statements differ from these
         Global Notes, the Global Notes shall control.

27.      Confidentiality: There may be instances in the Schedules and Statements where the
         Debtors have deemed it necessary and appropriate to redact from the public record
         information such as names, addresses, or amounts. Typically, the Debtors have used this
         approach because of an agreement between the Debtors and a third party, concerns of
         confidentiality, or concerns for the privacy of, or otherwise preserving the confidentiality
         of, personally identifiable information.

                          General Disclosures Applicable to Schedules

28.      Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
         “priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
         “executory” or “unexpired,” does not in each case constitute an admission by the Debtors
         of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
         reclassify such Claim or contract.

29.      Schedule A/B - Real and Personal Property.

         a)     Schedule A/B. All values set forth in Schedule A/B reflect the book value of the
                Debtors’ assets as of the Petition Date unless otherwise noted below.

         b)     Schedule A/B.3. Bank account balances are as of the end of business on Petition
                Date.

         c)     Schedule A/B.11. Accounts Receivable balances are as of the end of business on
                April 20, 2023 and do not include Intercompany balances.

         d)     Schedule A/B.15. Equity interests in subsidiaries and affiliates arise from common
                stock ownership. For purposes of these Schedules, the value of the Debtors’
                interests is undetermined. The book values of certain assets may materially differ
                from their fair market values and/or the liquidation of the assets prepared in
                connection with the Disclosure Statement.

         e)     Schedule A/B. Parts 5, 7, 8, and 9.
                a. An external or professional valuation of the Debtors’ physical goods inventory
                   has not been taken.
                b. Dollar amounts are presented net of accumulated depreciation and other
                   adjustments as of April 20, 2023.

         f)     Schedule A/B 60-64. Intellectual property is listed in Schedule A/B 60-64 as an
                undetermined amount on account of the fact that the fair market value of such
                ownership is dependent on numerous variables and factors and may differ

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                significantly from its net book value. Nothing herein or in the Schedules and
                Statements shall be construed as an admission or acknowledgment by the Debtors
                that any particular intellectual property is not transferable either pursuant to its
                terms or pursuant to provisions of the Bankruptcy Code or has no market value, and
                the Debtors reserve all rights with respect to any such issues.

         g)     Schedule A/B 72. Interests in Net Operating Losses (“NOLs”). Certain of the
                Debtors may have the ability to take advantage of NOLs, which amounts may be
                accumulated for more than one tax year. For combined or consolidated returns, the
                value of NOLs is reported at the parent level. The Debtors may have the ability to
                claim NOLs for subsequent years, but such amounts are estimates.

         h)     Schedule A/B 74/75. The Debtors’ failure to list any contingent and/or unliquidated
                claim held by the Debtors in response to this question shall not constitute a waiver,
                release, relinquishment, or forfeiture of such claim. In the ordinary course of its
                business, the Debtors may have accrued, or may subsequently accrue, certain rights
                to counter-Claims, setoffs, refunds or potential warranty Claims against its
                suppliers. Additionally, the Debtors may be a party to pending litigation in which
                the Debtors have asserted, or may assert, Claims as a plaintiff or counter-Claims as
                a defendant. Because such Claims are unknown to the Debtors and not quantifiable
                as of the Petition Date, they are not listed on Schedule A/B 74/75.

         i)     Schedule A/B73. Interests in Insurance Policies or Annuities. A list of the Debtors’
                insurance policies and related information is available in the Debtors’ Motion
                Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay
                Their Obligations Under Insurance Policies Entered Into Prepetition and (B)
                Renew, Supplement, Modify, or Purchase Insurance Coverage and (III) Granting
                Related Relief [Docket No. 10]. The Debtors believe that there is little or no cash
                value to the vast majority of such insurance policies. Accordingly, such policies are
                not listed on Schedule A/B, Part 11. All current insurance policies are listed in
                response to Schedule A/B 73.

30.      Schedule D - Creditors Holding Secured Claims. The Claims listed on Schedule D arose
         or were incurred on various dates; a determination of the date upon which each Claim arose
         or was incurred would be unduly burdensome and cost prohibitive. Accordingly, not all
         such dates are included for each Claim. All Claims listed on Schedule D, however, appear
         to have arisen or have been incurred before April 21, 2023.

         Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights to
         dispute or challenge the validity, perfection or immunity from avoidance of any lien
         purported to be granted or perfected in any specific asset for the benefit of a secured
         creditor listed on a Debtors’ Schedule D. Moreover, although the Debtors may have
         scheduled Claims of various creditors as secured Claims, the Debtors reserve all rights to
         dispute or challenge the secured nature of any such creditor’s Claim or the characterization
         of the structure of any such transaction or any document or instrument (including without
         limitation, any intercompany agreement) related to such creditor’s Claim. To that end, the


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         Debtors take no position as to the extent or priority of any particular creditor’s lien in the
         Schedules and Statements.

         The descriptions provided in Schedule D are intended only to be a summary. Reference to
         the applicable loan documents is necessary for a complete description of the collateral and
         the nature, extent and priority of any liens. Nothing in these Notes or the Schedules and
         Statements shall be deemed a modification or interpretation of the terms of such
         agreements.

         Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
         Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
         immunity from avoidance of any lien purported to be granted or perfected in any specific
         asset of a secured creditor listed on Schedule D. Moreover, although the Debtors have
         scheduled Claims of various creditors as secured Claims, the Debtors reserve all of their
         rights to dispute or challenge the secured nature of any such creditor’s Claim or the
         characterization of the structure of any such transaction or any document or instrument
         related to such creditor’s Claim. Further, while the Debtors have included the results of
         Uniform Commercial Code searches, the listing of such results is not, nor shall it be deemed,
         an admission as to the validity of any such lien. The descriptions provided in Schedule D are
         solely intended to be a summary and not an admission of liability. The Debtors have made
         reasonable, good faith efforts to include all known liens on Schedule D but may have
         inadvertently omitted to include an existing lien because of, among other things, the
         possibility that a lien may have been imposed after the Uniform Commercial Code searches
         were performed or a vendor may not have filed the requisite perfection documentation.

         Except as specifically stated on Schedule D, real property lessors, utility companies, and
         other parties that may hold security deposits have not been listed on Schedule D. The
         Debtors reserve all rights to amend Schedule D to the extent that the Debtors determine
         that any Claims associated with such agreements should be reported on Schedule D.

         Moreover, the Debtors have not included on Schedule D parties that may believe their
         Claims are secured through setoff rights or inchoate statutory lien rights.

31.      Schedule E/F— Creditors Holding Unsecured Claims. The Bankruptcy Court has
         authorized the Debtors, in their discretion, to pay certain liabilities that may be entitled to
         priority under the applicable provisions of the Bankruptcy Code. Further, on May 16,
         2023, the Bankruptcy Court entered the Final Order (I) Authorizing the Debtors to (A) Pay
         Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B)
         Continue Certain Employee Benefits Programs and (II) Granting Related Relief [Docket
         No. 114], authorizing the Debtor to pay or honor certain prepetition obligations with
         respect to employee wages and other compensation, reimbursable employee expenses and
         similar benefits. Also on May 16, 2023, the Bankruptcy Court entered the Final Order (I)
         Authorizing the Payment of Certain Prepetition Taxes and Fees and (II) Granting Related
         Relief [Docket No. 113].

         The Debtors have used reasonable efforts to report all general unsecured Claims against
         the Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the

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         Petition Date; however, inadvertent errors or omissions may have occurred. The Claims
         listed on Schedule E/F arose or were incurred on various dates. In certain instances, the
         date on which a Claim arose is an open issue of fact. In addition, the Claims of individual
         creditors for, among other things, goods or services are listed as either the lower of the
         amounts invoiced by such creditor or the amounts entered on the Debtors’ books and
         records and may not reflect credits, rebates, or allowances due from such creditors to the
         Debtors. The Claims and amounts listed in respect of certain trade payables reflect amounts
         owed as of the Petition Date.

         The Debtors may pay additional Claims listed on Schedule E/F during the chapter 11 cases
         pursuant to orders of the Bankruptcy Court, and reserve all rights to update Schedule E/F
         to reflect such payments. In addition, certain Claims listed on Schedule E/F may be entitled
         to priority under section 503(b)(9) of the Bankruptcy Code.

         Schedule E/F also contains information regarding pending litigation involving the Debtors.
         The dollar amount of potential Claims associated with any such pending litigation is listed
         as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
         and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
         subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F also includes
         potential or threatened legal disputes that are not formally recognized by an administrative,
         judicial, or other adjudicative forum due to certain procedural conditions that
         counterparties have yet to satisfy.

32.      Schedule G — Executory Contracts and Unexpired Leases. While reasonable efforts
         have been made to ensure the accuracy of Schedule G, the Debtors’ business is complex,
         and inadvertent errors, omissions, or overinclusion may have occurred. Each lease and
         contract listed in Schedule G may include one or more ancillary documents, including any
         underlying assignment and assumption agreements, amendments, supplements, full and
         partial assignments, renewals and partial releases, which may not be listed on Schedule G.
         Certain of the leases and contracts listed on Schedule G may contain certain renewal
         options, guarantees of payment, options to purchase, rights of first refusal, and other
         miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on
         Schedule G. In addition, the Debtors may have entered into various other types of
         agreements in the ordinary course of business, such as financing agreements, indemnity
         agreements, subordination, non-disturbance agreements, supplemental agreements,
         amendments/letter agreements, title agreements, and confidentiality agreements. Such
         documents may not be set forth on Schedule G. Certain of the executory contracts may not
         have been memorialized in writing and could be subject to dispute.

         The Debtors reserve all rights to dispute the validity, status, or enforceability of any
         contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
         Schedule as necessary. Omission of a contract or agreement from Schedule G does not
         constitute an admission that such omitted contract or agreement is not an executory contract
         or unexpired lease. Likewise, inclusion of any agreement on Schedule G does not constitute
         an admission that such agreement is an executory contract or unexpired lease, or that such
         agreement was in effect on the Petition Date or is valid and enforceable, and the Debtors
         reserves all rights in that regard, including without limitation the right to assert that any

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         agreement is not executory, has expired pursuant to its terms, is severable in whole or in
         part, or was terminated prepetition.

33.      Schedule H — Co-debtors. Although the Debtors have made every effort to ensure the
         accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred.
         The Debtors hereby reserve all rights to dispute the validity, status, and enforceability of
         any obligations set forth on Schedule H and to further amend or supplement such Schedule
         as necessary.

         The Debtors further reserve all rights, claims, and causes of action with respect to the
         obligations listed on Schedule H, including the right to dispute or challenge the
         characterization or the structure of any transaction, document, or instrument related to a
         creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H
         shall not be deemed an admission that such obligation is binding, valid, or enforceable.

         In the ordinary course of its business, the Debtors are involved in pending or threatened
         litigation and claims arising out of the conduct of its business. These matters may involve
         multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
         counterclaims against other parties. Because such claims are listed elsewhere in the
         Statements and Schedules, they may not have been set forth individually on Schedule H.

         Schedule H also reflects guarantees by the Debtors. The Debtors may not have identified
         certain guarantees that are embedded in the Debtors’ executory contracts, unexpired leases,
         debt instruments, and other such agreements. Thus, the Debtors reserve their right, but shall
         not be required, to amend the Schedules to the extent that additional guarantees are
         identified, or such guarantees are discovered to have expired or are unenforceable.

                          General Disclosures Applicable to Statements

34.      Questions 1 and 2. The gross revenue and non-business revenue reported for the current
         fiscal year are through April 20, 2023.

35.      Question 3 and 4. For certain creditors receiving payment, the Debtors maintain multiple
         addresses for such vendor. Efforts have been made to attribute the correct address, however,
         in certain instances, alternate addresses may be applicable for a party listed in response to
         Question 3.

         Question 3. Question 3 includes any disbursement or other transfer made by the Debtors
         except for those made to employees.

         For purposes of the Schedules and Statements, the Debtors define insiders as individuals
         that, based upon the totality of circumstances, have a controlling interest in, or exercise
         sufficient control over the Debtors so as to dictate corporate policy and the disposition of
         assets. The Debtors do not take any position with respect to (a) such person’s influence
         over the control of the Debtors; (b) the management responsibilities or functions of such
         individual; (c) the decision-making or corporate authority of such individual; or (d)
         whether such individual could successfully argue that he or she is not an “insider” under

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         applicable law, including the federal securities law, or with respect to any theories of
         liability or any other purpose. As such, the Debtors reserve all rights to dispute whether
         someone identified in response to Question 4 is in fact an “insider” as defined in section
         101(31) of the Bankruptcy Code.

36.      Question 7. The Debtors reserve all rights and defenses with respect to any and all listed
         lawsuits and administrative proceedings. The listing of any such suits and proceedings shall
         not constitute an admission by the Debtors of any liabilities or that the actions or
         proceedings were correctly filed against the Debtors. The Debtors also reserve their rights
         to assert that a Debtor is not an appropriate party to such actions or proceedings.

37.      Question 10. The Debtors have made best efforts to collect applicable and responsive
         information however, certain de minimis losses, which are not tracked separately, may have
         been omitted.

38.      Question 11. Certain of the payments listed may have been paid for services outside of
         debt consolidation, restructuring or bankruptcy relief.

39.      Question 13. While the Debtors have made reasonable efforts to respond comprehensively
         to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.

40.      Question 26d. The Debtors have supplied financial statements and reports in the ordinary
         course of business to certain third parties under confidentiality agreements. Such third
         parties include restructuring professionals, administrative agents under the Debtors’ debt
         facilities, and certain other creditors and their advisors and potential purchasers under the
         Debtors’ sale process.

41.      Question 27. The company performs a full physical count at least once a year, no more
         than 30 days before year end close, for all inventory items, including finished goods, work
         in process, raw materials, samples, and maintenance, repair, and operating inventory.
         Additionally, each item of stock, covered by the approved Inventory Cycle Counting
         Program, must be counted at least twice annually, and achieve a 97% accuracy rate over at
         least 6 months. The company’s basis for inventory value is FIFO, Lower of Cost or Net
         Realizable Value.

42.      Question 30. For this question, please reference Statement of Financial Affairs, Question
         4.




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                                            Case 23-10497-CTG                                       Doc 149                   Filed 05/22/23                           Page 14 of 101


Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber U.S., Inc.

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                                             Check if this is an
Case number (if known): 23-10497 (CTG)                                                                                                                                                       amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                            12/15


Part 1:        Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                        $                  0.00
     1a. Copy line 88 from Schedule A/B ...........................................................................................................................


     1b. Total personal property:
                                                                                                                                                                                        $           8,262,375.97
     1b. Copy line 91A from Schedule A/B ..........................................................................................................................


     1c. Total of all property:
                                                                                                                                                                                        $           8,262,375.97
     1c. Copy line 92 from Schedule A/B .............................................................................................................................



Part 2:       Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                        $         49,057,696.96
     Copy the total dollar amount listed in Column A, Amount of claim,from line 3 of Schedule D .....................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                        $                  0.00
     3a. Copy the total claims from Part 1 from line 5a of Schedule E/F ............................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        +$        47,465,534.28
     3b. Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .................................................


4. Total liabilities
                                                                                                                                                                                        $         96,523,231.24
     Lines 2 + 3a + 3b ..............................................................................................................................................................




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                              Page 1 of 1
                                 Case 23-10497-CTG                        Doc 149       Filed 05/22/23             Page 15 of 101


Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber U.S., Inc.

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                    Check if this is an
Case number (if known): 23-10497 (CTG)                                                                                              amended filing


Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                              12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.



For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.




Part 1:       Cash and cash equivalents

   1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
      5 Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                       Current value of debtor’s interest


   2. Cash on hand

              2.1 None                                                                                                    $


   3. Checking, savings, money market, or financial brokerage accounts (Identify all)
      Name of institution (bank or brokerage firm)             Type of account   Last 4 digits of account number

              3.1 BMO Harris                                   Checking          2652                                     $                       95,687.76

              3.2 BMO Harris                                   Checking          9922                                     $                         939.21


   4. Other cash equivalents (Identify all)

             4.1 None                                                                                                     $


  5. Total of Part 1
                                                                                                                          $                      96,626.97
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                            Page 1 of 12
                                 Case 23-10497-CTG                   Doc 149       Filed 05/22/23           Page 16 of 101
  Debtor:    Structurlam Mass Timber U.S., Inc.                                                       Case number (if known):       23-10497
              Name


Part 2:     Deposits and prepayments
  6. Does the debtor have any deposits or prepayments?
    5 No. Go to Part 3.
          Yes. Fill in the information below.

                                                                                                                            Current value of debtor’s interest

 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
                                                                                                                            $


  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
             8.1 None                                                                                                       $


9. Total of Part 2.
    Add lines 7 through 8. Copy the total to line 81.                                                                           $                         0.00




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                            Page 2 of 12
                                    Case 23-10497-CTG                   Doc 149        Filed 05/22/23              Page 17 of 101
   Debtor:    Structurlam Mass Timber U.S., Inc.                                                             Case number (if known):      23-10497
               Name

Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
     5 Yes. Fill in the information below.
                                                                                                                                            Current value of debtor’s
                                                                                                                                            interest

11. Accounts receivable
                                     Description          face amount                  doubtful or uncollectible accounts
    11a.     90 days old or less:    Trade receivables    $               370,749.00   -$                                      =..... Î     $                370,749.00



    11b.     Over 90 days old:       Receivables          $               190,835.00   -$                    190,835.00        =..... Î     $                       0.00


12. Total of Part 3.
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                                 $                370,749.00




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                                    Page 3 of 12
                                Case 23-10497-CTG                    Doc 149         Filed 05/22/23         Page 18 of 101
  Debtor:    Structurlam Mass Timber U.S., Inc.                                                       Case number (if known):           23-10497
              Name


Part 4:       Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
    5 Yes. Fill in the information below.
                                                                                                Valuation method used
                                                                                                                      Current value of debtor’s interest
                                                                                                for current value

14. Mutual funds or publicly traded stocks not included in Part 1

    Name of fund or stock:

             14.1 None                                                                                                          $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                      % of ownership:

             15.1 Natural Outcomes, LLC                                  100                                                    $                  Undetermined



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

              16.1 None                                                                                                             $


17. Total of Part 4.
    Add lines 14 through 16. Copy the total to line 83.                                                                         $                           0.00




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                Page 4 of 12
                                 Case 23-10497-CTG                     Doc 149        Filed 05/22/23              Page 19 of 101
  Debtor:     Structurlam Mass Timber U.S., Inc.                                                            Case number (if known):   23-10497
                 Name


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
            No. Go to Part 6.
     5 Yes. Fill in the information below.

                                                                               Net book value of debtor's
                                                          Date of the last                                      Valuation method used          Current value of debtor’s
     General description                                                       interest
                                                          physical inventory                                    for current value              interest
                                                                               (Where available)

19. Raw materials
                 19.1 Raw materials                       Continuous count     $             2,955,000.00       Activity based costing         $              2,955,000.00


20. Work in progress
                 20.1 Work in progress                    Continuous count     $             3,742,000.00       Activity based costing         $              3,742,000.00


21. Finished goods, including goods held for resale
                 21.1 Finished goods                       Continuous count    $              626,000.00       Activity based costing          $               626,000.00


22. Other inventory or supplies
                 22.1 None                                                      $                                                              $


 23. Total of Part 5.
     Add lines 19 through 22. Copy the total to line 84.                                                                                   $                 7,323,000.00


24. Is any of the property listed in Part 5 perishable?
     5 No
            Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
     5      Yes.               Raw
                               Materials,
                               Work in
                               Progress and
                               Finished
                   Description Goods           Book value $          Undetermined     Valuation method                        Current value $                Undetermined

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     5 No
            Yes




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                                   Page 5 of 12
                                Case 23-10497-CTG                     Doc 149           Filed 05/22/23            Page 20 of 101
   Debtor:   Structurlam Mass Timber U.S., Inc.                                                             Case number (if known):       23-10497
               Name


Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     5 No. Go to Part 7.
          Yes. Fill in the information below.

                                                                            Net book value of debtor's     Valuation method
     General description                                                    interest                       used for current           Current value of debtor’s interest
                                                                            (Where available)              value
 28. Crops—either planted or harvested
                                                                            $                                                         $


 29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                            $                                                         $


 30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                            $                                                         $


 31. Farm and fishing supplies, chemicals, and feed
                                                                            $                                                         $


 32. Other farming and fishing-related property not already listed in Part 6
                                                                            $                                                         $

 33. Total of Part 6.
     Add lines 28 through 32. Copy the total to line 85.                                                                              $                               0.00


 34. Is the debtor a member of an agricultural cooperative?
          No
          Yes. Is any of the debtor’s property stored at the cooperative?
                No
                Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
          No
          Yes. Description                      Book value $                            Valuation method                       Current value $




 36. Is a depreciation schedule available for any of the property listed in Part 6?
          No
          Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
          No
          Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 6 of 12
                               Case 23-10497-CTG                    Doc 149          Filed 05/22/23              Page 21 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                             Case number (if known):   23-10497
            Name


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
       No. Go to Part 8.
     5Yes. Fill in the information below.

                                                                     Net book value of debtor's
                                                                                                       Valuation method used for          Current value of debtor’s
     General description                                             interest
                                                                                                       current value                      interest
                                                                     (Where available)
 39. Office furniture

             39.1 None                                               $                                                                    $


 40. Office fixtures

             40.1 Office Fixtures                                    $                    285,000.00                                      $            Undetermined


 41. Office equipment, including all computer equipment and
     communication systems equipment and software

             41.1 Computer Equipment                                 $                    159,728.01                                      $            Undetermined

             41.2 Computer Software                                  $                    368,574.81                                      $            Undetermined


 42. Collectibles Examples: Antiques and figurines; paintings,prints, or other artwork;
     books, pictures, or other art objects; china and crystal; stamp, coin, or baseball
     card collections; other collections, memorabilia, or collectibles

             42.1 None                                               $                                                                    $


 43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.                                                                                  $                       0.00


 44. Is a depreciation schedule available for any of the property listed in Part 7?
       No
     5Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     5No
       Yes




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                                 Page 7 of 12
                                Case 23-10497-CTG                    Doc 149            Filed 05/22/23            Page 22 of 101
  Debtor:    Structurlam Mass Timber U.S., Inc.                                                             Case number (if known):           23-10497
              Name


Part 8:       Machinery, equipment, and vehicles
 46. Does the debtor own or lease any machinery, equipment, or vehicles?
            No. Go to Part 9.
      5 Yes. Fill in the information below.

     General description                                                 Net book value of debtor's
                                                                         interest                       Valuation method used
                                                                                                                              Current value of debtor’s interest
     Include year, make, model, and identification numbers (i.e.,                                       for current value
     VIN, HIN, or N-number)                                              (Where available)

 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                 47.1 See Schedule A/B 47 Attachment                     $                   9,755.85                                     $               Undetermined



 48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
     floating homes, personal watercraft, and fishing vessels
                 48.1 None                                            $                                                               $


  49. Aircraft and accessories
                 49.1 None                                           $                                                                $


 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
                 50.1 See Schedule A/B 50 Attachment                 $               47,436,167.92                                    $                   Undetermined



 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.                                                                         $                               0.00


 52. Is a depreciation schedule available for any of the property listed in Part 8?
            No
      5 Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      5 No
            Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                      Page 8 of 12
                                 Case 23-10497-CTG                     Doc 149           Filed 05/22/23              Page 23 of 101
   Debtor:    Structurlam Mass Timber U.S., Inc.                                                               Case number (if known):   23-10497
               Name

Part 9:      Real property
 54.    Does the debtor own or lease any real property?
          No. Go to Part 10.
        5Yes. Fill in the information below.

55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property
                                                                                           Net book value of
        Include street address or other description such as           Nature and extent of                                   Valuation method   Current value of
                                                                                           debtor's interest
        Assessor Parcel Number (APN), and type of property (for       debtor’s interest in                                   used for current   debtor’s interest
        example, acreage, factory, warehouse, apartment or office     property                                               value
                                                                                           (Where available)
        building), if available.

               55.1 See Schedule A/B 55 Attachment                                             $       16,574,876.10                            $       Undetermined


56. Total of Part 9.
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                      $                   0.00


57.     Is a depreciation schedule available for any of the property listed in Part 9?`
          No
        5Yes

58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        5No
          Yes




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                                    Page 9 of 12
                               Case 23-10497-CTG                    Doc 149        Filed 05/22/23             Page 24 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                         Case number (if known):   23-10497
            Name



Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    5
      Yes. Fill in the information below.

                                                                         Net book value of debtor's                           Current value of debtor’s
                                                                         interest                      Valuation method
    General description                                                                                                       interest
                                                                         (Where available)             used for current value

60. Patents, copyrights, trademarks, and trade secrets
                                                                         $                                                       $


61. Internet domain names and websites
                                                                        $                                                         $


62. Licenses, franchises, and royalties
                                                                         $                                                        $


63. Customer lists, mailing lists, or other compilations
                                                                         $                                                        $


64. Other intangibles, or intellectual property
                                                                         $                                                        $


65. Goodwill
                                                                         $                                                        $


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                           $                   0.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
      No
      Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
      No
      Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
      No
      Yes




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                          Page 10 of 12
                                 Case 23-10497-CTG                    Doc 149          Filed 05/22/23               Page 25 of 101
   Debtor:   Structurlam Mass Timber U.S., Inc.                                                               Case number (if known):       23-10497
              Name


Part 11:     All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
      No. Go to Part 12.
    5Yes. Fill in the information below.

                                                                                                                                        Current value of debtor’s
                                                                                                                                        interest




71. Notes receivable
     Description (include name of obligor)                 Total face amount           doubtful or uncollectible accounts
             71.1 None                                     $                           -$                                   =.....   Î $


72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
             72.1 Dept of Finance – Arkansas – Create Rebate Program                    Tax year 2022                                   $                   236,000.00

     Description (for example, federal, state, local)
                  Dept of Finance – Arkansas - Governor’s Quick Action
             72.2 Closing Fund                                                          Tax year 2022                                   $                   236,000.00


73. Interests in insurance policies or annuities
             73.1 See Schedule A/B 73 Attachment                                                                                        $                   Unsecured



74. Causes of action against third parties (whether or not a lawsuit
     has been filed)
             74.1 None                                                                                                                  $

                  Nature of claim

                  Amount requested                         $



 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims
             75.1 None                                                                                                                  $

                  Nature of claim

                  Amount requested                          $



76. Trusts, equitable or future interests in property
             76.1 None                                                                                                                  $


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
             77.1 None                                                                                                                  $


 78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                $                   472,000.00



79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    5No
      Yes



Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 11 of 12
                                          Case 23-10497-CTG                                Doc 149                Filed 05/22/23                   Page 26 of 101
     Debtor:     Structurlam Mass Timber U.S., Inc.                                                                                        Case number (if known):       23-10497
                  Name



Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                                                Current value of                         Current value of real
                                                                                                      personal property                        property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                $                  96,626.97

81. Deposits and prepayments. Copy line 9, Part 2.                                                    $                         0.00

82. Accounts receivable. Copy line 12, Part 3.                                                        $                370,749.00

83. Investments. Copy line 17, Part 4.                                                                $                         0.00

84. Inventory. Copy line 23, Part 5.                                                                  $              7,323,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                         $                         0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                      $                         0.00
      Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $                         0.00

88. Real property. Copy line 56, Part 9.............................................................................................Î          $                         0.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $                         0.00

90. All other assets. Copy line 78, Part 11.                                                          $                472,000.00

                                                                                                      $               8,262,375.97
91. Total. Add lines 80 through 90 for each column...............................91a.                                                   + 91b. $                         0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................................    $        8,262,375.97




 Official Form 206 A/B                                       Schedule A/B: Assets - Real and Personal Property                                                                      Page 12 of 12
                                           Case 23-10497-CTG                      Doc 149         Filed 05/22/23            Page 27 of 101


 Fill in this information to identify the case:

 Debtor Name: In re : Structurlam Mass Timber U.S., Inc.

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                          Check if this is an
 Case number (if known): 23-10497 (CTG)                                                                                                                   amended filing


 Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

 Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor’s property?
          No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    5 Yes. Fill in all of the information below.

Part 1:        List Creditors Who Have Secured Claims


2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                               Column A
                                                                                                                                                                Column B
   secured claim, list the creditor separately for each claim.                                                                     Amount of claim
                                                                                                                                                                Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                                supports this claim
                                                                                                                                   value of collateral.

       2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien

             Bank of Montreal                                           Substanially all debtor's assets                       $          49,057,696.96     $           Undetermined
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                As described in the Credit Agreement, as amended
             600-595 Burrard Street
             Street

                                                                        Is the creditor an insider or related party?
                                                                            No
             Vancouver              BC                 V7X 1L5          5 Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                              No
                                                                        5    Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               12/3/2019

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?
                                                                             Disputed
             5        No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




          3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
             Page, if any.                                                                                                     $          49,057,696.96




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                            Page 1 of 3
                               Case 23-10497-CTG                    Doc 149          Filed 05/22/23            Page 28 of 101


Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1


  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
  agencies, assignees of claims listed above, and attorneys for secured creditors.

  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1      Last 4 digits of
  Name and address                                                                                             did you enter the related    account number for
                                                                                                               creditor?                    this entity

  Blake, Cassels & Graydon LLP                                                                                 Line 2.1
  Name

  Austin Beck
  Notice Name

  855 - 2nd Street S.W.
  Street

  Suite 3500, Bankers Hall East Tower


  Vancouver                                    AB                              T2P 4J8
  City                                         State                           ZIP Code

  Canada
  Country

  Blake, Cassels & Graydon LLP                                                                                 Line 2.1
  Name

  Christopher Keliher
  Notice Name

  855 - 2nd Street S.W.
  Street

  Suite 3500, Bankers Hall East Tower


  Vancouver                                    AB                              T2P 4J8
  City                                         State                           ZIP Code

  Canada
  Country

  Blake, Cassels & Graydon LLP                                                                                 Line 2.1
  Name

  Erik Fleming
  Notice Name

  855 - 2nd Street S.W.
  Street

  Suite 3500, Bankers Hall East Tower


  Vancouver                                    AB                              T2P 4J8
  City                                         State                           ZIP Code

  Canada
  Country




 Official Form 206D                       Schedule D: Creditors Who Have Claims Secured by Property                                                   Page 2 of 3
                                 Case 23-10497-CTG                Doc 149        Filed 05/22/23        Page 29 of 101
  Debtor:     Structurlam Mass Timber U.S., Inc.                                                 Case number (if known):   23-10497
              Name

Blake, Cassels & Graydon LLP                                                                             Line 2.1
Name

Kelly Bourassa
Notice Name

855 - 2nd Street S.W.
Street

Suite 3500, Bankers Hall East Tower


Vancouver                                          AB                      T2P 4J8
City                                               State                   ZIP Code

Canada
Country




Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                Page 3 of 3
                                        Case 23-10497-CTG              Doc 149           Filed 05/22/23              Page 30 of 101


 Fill in this information to identify the case:

 Debtor Name: In re : Structurlam Mass Timber U.S., Inc.

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                 Check if this is an
 Case number (if known): 23-10497 (CTG)                                                                                                          amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                               12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


Part 1:      List All Creditors with PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      No. Go to Part 2.
     5
       Yes. Go to Line 2.




  2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                  Total claim                Priority amount

          2.1 Priority creditor’s name and mailing address         As of the petition filing date, the claim is: $                           $
                                                                   Check all that apply.
             Creditor Name
                                                                      Contingent
                                                                      Unliquidated
             Creditor's Notice name
                                                                      Disputed


             Address                                                Basis for the claim:




             City                     State        ZIP Code



             Country

             Date or dates debt was incurred


             Last 4 digits of account                                                                                Is the claim subject to offset?
             number                                                                                                    No

             Specify Code subsection of PRIORITY unsecured                                                            Yes
             claim: 11 U.S.C. § 507(a) ()




 Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 1 of 49
                                   Case 23-10497-CTG                 Doc 149           Filed 05/22/23              Page 31 of 101


Part 2:     List All Creditors with NONPRIORITY Unsecured Claims



  3.List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
    claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                   Amount of claim

     3.1 Nonpriority creditor’s name and mailing address                           As of the petition filing date, the claim is:   $                         4,796.37
          Accurate Solutions - Atlanta, Inc.                                       Check all that apply.
          Creditor Name
                                                                                      Contingent
                                                                                      Unliquidated
          Creditor's Notice name
                                                                                      Disputed
          825 Chance Rd, Sutie 10                                                  Basis for the claim:
          Address
                                                                                   Trade payables




          Marietta                 GA                 30066
          City                     State               ZIP Code



          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                    No
                                                                                   5
          Last 4 digits of account                                                    Yes

          number

     3.2 Nonpriority creditor’s name and mailing address                           As of the petition filing date, the claim is:   $                          578.13
          Airgas USA LLC                                                           Check all that apply.
          Creditor Name
                                                                                      Contingent
                                                                                      Unliquidated
          Creditor's Notice name
                                                                                      Disputed
          2530 Sever Road #300                                                     Basis for the claim:
          Address
                                                                                   Trade payables




          Lawrenceville            GA                 30043
          City                     State               ZIP Code



          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                    No
                                                                                   5
          Last 4 digits of account                                                    Yes

          number




 Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 2 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 32 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

    3.3 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              11,675.23
        Airgas USA, LLC                                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        418 Highway 65 N                                                  Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR              72034
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

    3.4 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              14,715.95
        AP Fabrications, LLC                                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        801 East 2nd Street                                               Basis for the claim:
        Address
                                                                          Trade payables




        Stuttgart                AR              72160
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 33 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

    3.5 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              13,661.17
        APA - The Engineered Wood Association                             Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        7011 South 19th Street West                                       Basis for the claim:
        Address
                                                                          Trade payables




        Tacoma                   WA              98466
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

    3.6 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               1,360.23
        Apquip Company, Inc.                                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        5 Harris Court, Unit Q                                            Basis for the claim:
        Address
                                                                          Trade payables




        Monterey                 CA              93940
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 34 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

    3.7 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                453.66
        Arkansas Carbide Saw & Tool Co., Inc                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1401 Hwy 112 North                                                Basis for the claim:
        Address
                                                                          Trade payables




        Pocola                   OK              47902
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

    3.8 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               3,043.70
        Arkansas Soft Water, LLC                                          Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        dba Culligan of North Little                                      Basis for the claim:
        Address
                                                                          Trade payables
        131 W. Military Drive




        North Little Rock        AR              72118
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 35 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

    3.9 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               4,718.70
        BDO Calgary                                                       Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        903-8th Avenue SW                                                 Basis for the claim:
        Address
                                                                          Trade payables
        Suite 620




        Calgary                  AB              T2P 0P7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              25,680.00
        BDO Kelowna                                                       Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        BDO Canada LLP                                                    Basis for the claim:
        Address
                                                                          Trade payables
        400-1631 Dickson Ave




        Kelowna                  BC              V1Y 0B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 36 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               1,375.89
        Bluestar Retirement Services Inc.                                 Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 2349                                                       Basis for the claim:
        Address
                                                                          Trade payables




        Ponte Vedra              FL              32004-2349
        Beach
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.12 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               4,803.55
        BMO Financial Group                                               Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 5732                                                       Basis for the claim:
        Address
                                                                          Trade payables




        Carol Stream             IL              60197-5732
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 37 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                883.13
        Booneville Vending & Coffee Services                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        22 West Main St.                                                  Basis for the claim:
        Address
                                                                          Trade payables




        Booneville               AR              72927
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                401.00
        Boyd Metals of Little Rock, Inc                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        4323 Muaney Road                                                  Basis for the claim:
        Address
                                                                          Trade payables




        Fort Smith               AR              72203
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 38 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               1,680.00
        Browning's Welding Service, INC                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        163 Shaw Bridge Road                                              Basis for the claim:
        Address
                                                                          Trade payables




        Wooster                  AR              72181
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.16 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              28,095.00
        CAC Specialty                                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        115 Office Park Drive                                             Basis for the claim:
        Address
                                                                          Trade payables




        Birmingham               AL              35223
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 9 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 39 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               42,493.76
        Cal-Tex Lumber CO                                                 Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        2912 Rayburn Dr                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Nacogdoches              TX              75963-1010
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                5,398.12
        CDW Direct LLC                                                    Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        200 N. Milwaukee Ave                                              Basis for the claim:
        Address
                                                                          Trade payables




        Vernon Hills             IL              60061
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 40 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                2,695.43
        CED, Inc. dba Keathley Patterson Electric                         Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        585 Commerce Road                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR                 72032
        City                     State              ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.20 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               13,299.43
        Cintas Corporation                                                Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        102 Champs Blvd                                                   Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 13990




        Maumelle                 AR                 72113
        City                     State              ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 11 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 41 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 375.00
        Clarke's Sheet Metal                                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        600 Conger Street                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Eugene                   OR              97402
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 314.28
        Complex Technologies Monitoring                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1853 W Henri De Tonti BLVD                                        Basis for the claim:
        Address
                                                                          Trade payables




        Springdale               AR              72762
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 12 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 42 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,339.04
        Conway Corp                                                       Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 99                                                         Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR              72033
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.24 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               23,499.58
        Conway Industrial Supply                                          Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        561 Equity Ave                                                    Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR              72032
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 13 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 43 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                3,500.00
        Day & Ross Inc.                                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        398 Main Street                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Hartland                 NB              E7P 1C6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                2,450.00
        Deepwell Energy Services, LLC                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        4025 Hwy 35 North                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Columbia                 MS              39429
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 14 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 44 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 118.10
        Delta Dental of Arkansas                                          Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        ATTN: Sales & Account Management                                  Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 15965




        North Little Rock        AR              72231
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.28 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               11,326.57
        Eagle Electric, Inc.                                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        4355 Boone Road                                                   Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 488




        Benton                   AR              72015
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 15 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 45 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 132.69
        Electro Rent Corporation                                          Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        8511 Fallbrook Ave                                                Basis for the claim:
        Address
                                                                          Trade payables
        Suite 200




        West Hills               CA              91304
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 908.79
        Employment Security Department Washington State                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        UI Tax Administration                                             Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 34949




        Seattle                  WA              98124-1949
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 16 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 46 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                2,708.11
        Eurotec GmbH                                                      Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        Unter dem Hofe 5                                                  Basis for the claim:
        Address
                                                                          Trade payables




        Hagen                                    58099
        City                     State            ZIP Code

        Germany
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.32 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,106.87
        EZ Roll Products Inc.                                             Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        dba. Diamond State Industrial Products                            Basis for the claim:
        Address
                                                                          Trade payables
        17 Drillers Dr.




        Conway                   AR              72032
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 17 of 49
                                 Case 23-10497-CTG              Doc 149       Filed 05/22/23              Page 47 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                      Case number (if known):       23-10497
               Name

   3.33 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:      $               38,576.13
        Fastenal Company                                                   Check all that apply.
        Creditor Name
                                                                             Contingent
                                                                             Unliquidated
        Creditor's Notice name
                                                                             Disputed
        650 E Robins Street                                                Basis for the claim:
        Address
                                                                           Trade payables




        Conway                   AR               72032
        City                     State             ZIP Code



        Country

        Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                            No
                                                                           5
        Last 4 digits of account                                             Yes

        number

   3.34 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:      $                2,710.02
        Fusionsite Services dba Arkansas Portable Toilets                  Check all that apply.
        Creditor Name
                                                                             Contingent
                                                                             Unliquidated
        Creditor's Notice name
                                                                             Disputed
        924 W 15th St. North Little Rock                                   Basis for the claim:
        Address
                                                                           Trade payables
        PO Box 34033




        Little Rock              AR               72023
        City                     State             ZIP Code



        Country

        Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                            No
                                                                           5
        Last 4 digits of account                                             Yes

        number




Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 18 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 48 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.35 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                9,978.71
        George R Douglas and Associates                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        3261 Commercial Parkway                                           Basis for the claim:
        Address
                                                                          Trade payables




        Memphis                  TN              38116
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.36 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,817.74
        Greenwood Motor Lines Inc DBA R+L Carriers                        Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 10020                                                      Basis for the claim:
        Address
                                                                          Trade payables




        Port William             OH              45164-2000
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 19 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 49 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.37 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              183,099.94
        Henkel Corporation                                                Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        10 Finderne Ave                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Bridgewater              NJ              08807
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.38 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,198.25
        Heritage-Crystal Clean, LLC                                       Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        2175 Point Blvd                                                   Basis for the claim:
        Address
                                                                          Trade payables
        Suite 375




        Elgin                    IL              60123
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 20 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 50 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.39 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                4,006.86
        Hiegel Supply LLC                                                 Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1310 Bruce Street                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR              72034
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.40 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               28,558.30
        Hugg & Hall Equipment Company                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        8101 Fourche Rd                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Little Rock              AR              72209
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 21 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 51 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.41 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                3,330.18
        Hugg & Hall Mobile Storage                                        Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        6601 Scott Hamilton Dr.                                           Basis for the claim:
        Address
                                                                          Trade payables




        Little Rock              AR              72209
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.42 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                3,187.48
        ID Technology Canada (Corp)                                       Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        165 Annagem Boulevard                                             Basis for the claim:
        Address
                                                                          Trade payables




        Mississauga              ON              L5T 2V1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 22 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 52 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.43 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               17,760.13
        Industrial Finishes & Systems, Inc                                Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        3455 West 1st Avenue                                              Basis for the claim:
        Address
                                                                          Trade payables




        Eugene                   OR              97402
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.44 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,567.14
        Joulin                                                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        2551 Hwy 70 SW                                                    Basis for the claim:
        Address
                                                                          Trade payables




        Hickory                  NC              72022
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 23 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 53 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.45 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                3,700.00
        Kerlin Drake Consulting                                           Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        6 Oaklawn Drive                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Covington                LA              70433
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.46 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                6,776.50
        Kutak Rock LLP                                                    Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 30057                                                      Basis for the claim:
        Address
                                                                          Trade payables




        Omaha                    NE              69103-1157
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 24 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 54 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.47 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 240.03
        Leitz Tooling Systems LP                                          Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        4301 East Paris S.E.                                              Basis for the claim:
        Address
                                                                          Trade payables




        Grand Rapids             MI              49512
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.48 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                5,598.11
        Lift Truck Service Center, MC.                                    Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        12829 Interstate 30                                               Basis for the claim:
        Address
                                                                          Trade payables




        Little Rock              AR              72209
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 25 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 55 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.49 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,471.06
        M. M. Satterfield Oil Co                                          Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        105 E. Robins St                                                  Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 1080




        Conway                   AR              72033
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.50 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,682.24
        McElroy Metal Mill Inc dba. Metal Mart                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        678 Hwy 365 South                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Mayflower                AR              72106
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 56 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.51 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,102.99
        McMaster-Carr Supply Company                                      Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        600 N County Line Road                                            Basis for the claim:
        Address
                                                                          Trade payables




        Elmhurst                 IL              60126
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.52 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 450.00
        Microtec SRL                                                      Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        Julius-Durst 98                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Bressanone                               39042
        City                     State            ZIP Code

        Italy
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 57 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.53 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 353.41
        Mid South Sales, LLC                                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        243 CR 414                                                        Basis for the claim:
        Address
                                                                          Trade payables




        Jonesboro                AR                 72404
        City                     State              ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.54 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                2,972.57
        Mock Inc dba. Hi-Speed Industrial Service                         Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        6812 Lindsey Road                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Little Rock              AR                 72206
        City                     State              ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 28 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 58 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.55 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               13,429.92
        Motion Industries Inc.                                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        5312 W 65th Street                                                Basis for the claim:
        Address
                                                                          Trade payables




        Little Rock              AR              72209
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.56 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,418.50
        MSM Markier-Sensor-Systeme GmbH                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        Benzst 1                                                          Basis for the claim:
        Address
                                                                          Trade payables




        Kenzingen                                79341
        City                     State            ZIP Code

        Germany
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 29 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 59 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.57 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               42,542.99
        MTC Solutions                                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        106-12941 115th Ave                                               Basis for the claim:
        Address
                                                                          Trade payables




        Surrey                   BC              V3R 0E2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.58 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,658.12
        NABCO M&E, Inc.                                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1750 S. Amity Road                                                Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 1547




        Conway                   AR              72033
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 30 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 60 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.59 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,325.00
        Occupational Health Solutions                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        dba Canopy Employment Screenings                                  Basis for the claim:
        Address
                                                                          Trade payables
        814 North Creek Drive, Suite B




        Conway                   AR              72032
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.60 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               51,031.72
        Owens Corning Sales LLC                                           Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1 Owens Corning Pkwy                                              Basis for the claim:
        Address
                                                                          Trade payables




        Toledo                   OH              43659
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 31 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 61 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.61 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,056.07
        Ozark Fluid Power, Inc.                                           Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        10801 East Otter Creek BLVD                                       Basis for the claim:
        Address
                                                                          Trade payables




        Mabelvale                AR              72103
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.62 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                1,292.01
        Pinnacle West Enterprises Inc                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        31897 Mercantile Way                                              Basis for the claim:
        Address
                                                                          Trade payables




        Abbotsford               BC              V2T 4C3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 32 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 62 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.63 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               13,627.56
        PR Marketing, LLC dba ASAP Personnel Services                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        10301 N. Rodney Parham Road                                       Basis for the claim:
        Address
                                                                          Trade payables
        Ste A3




        Little Rock              AR              72227
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.64 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                9,591.59
        Purvis Industries                                                 Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 54757                                                      Basis for the claim:
        Address
                                                                          Trade payables




        Dallas                   TX              75354
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 33 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 63 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.65 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                8,102.80
        Radiophone of Central AR dba. Radiophone of NW AR                 Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        207 E. Monroe Avenue, Ste. A                                      Basis for the claim:
        Address
                                                                          Trade payables




        Lowell                   AR              72745
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.66 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                4,651.80
        Ricoh USA, Inc                                                    Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 660342                                                     Basis for the claim:
        Address
                                                                          Trade payables




        Dallas                   TX              75266-0342
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 34 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 64 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.67 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              174,538.50
        Rotho Blaas USA Inc                                               Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        30 Wall St, 8th Floor                                             Basis for the claim:
        Address
                                                                          Trade payables




        New York                 NY              10005
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.68 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                6,440.00
        Rusco Packaging Inc                                               Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1010 Regal Row                                                    Basis for the claim:
        Address
                                                                          Trade payables




        Dallas                   TX              75247
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 35 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 65 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.69 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 600.00
        Shane E. Ford, OD, PA dba Arkansas Eye Care Group                 Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        3005 Fountain Drive                                               Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR              72034
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.70 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              288,631.84
        Simpson Strong-Tie Company, Inc.                                  Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        2151 S Airport Drive                                              Basis for the claim:
        Address
                                                                          Trade payables




        McKinney                 TX              75069
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 36 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 66 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.71 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                2,300.00
        Smart Choice Delivery, Inc.                                       Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        6005 Scott Hamilton Drive                                         Basis for the claim:
        Address
                                                                          Trade payables




        Little Rock              AR              XX-XXXXXXX
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.72 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               10,250.24
        Southern Mississippi Trading LLC                                  Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        797 Industrial Park                                               Basis for the claim:
        Address
                                                                          Trade payables




        Waynesboro               MS              39367
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 37 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 67 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.73 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 378.06
        SouthernCarlson, Inc                                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        10840 Harney Street                                               Basis for the claim:
        Address
                                                                          Trade payables




        Omaha                    NE              68154
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.74 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 110.10
        Speights Auto Parts                                               Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        6601 Forbing Road                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Little Rock              AR              72209
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 38 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 68 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.75 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                62,563.03
        Stiles Machinery (Parts Only)                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        3965 44th St SE                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Grand Rapids             MI              49512
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.76 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              1,236,205.98
        Stiles Machinery Inc                                              Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        3944 Solutions Center                                             Basis for the claim:
        Address
                                                                          Trade payables




        Chicago                  IL              60677-3009
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 39 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 69 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.77 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              12,815,792.00
        Structurlam Mass Timber Corporation                               Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        2176 Government Street                                            Basis for the claim:
        Address
                                                                          Intercompany




        Penticton                BC              V2A 8B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.78 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                159,469.34
        Summit Utilities                                                  Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 2414                                                       Basis for the claim:
        Address
                                                                          Trade payables




        Fort Smith               AR              72902-2414
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 40 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 70 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.79 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                2,121.00
        T&B Construction Services LLC                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        711 Industrial Blvd                                               Basis for the claim:
        Address
                                                                          Trade payables




        Lufkin                   TX              75904
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.80 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                3,796.50
        Timberwolf Tools                                                  Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        2 Wilderness Dr                                                   Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 25




        Newry                    ME              04261
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 71 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.81 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 150.00
        Total Quality Logistics, LLC                                      Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        4289 Ivy Pointe Blvd.                                             Basis for the claim:
        Address
                                                                          Trade payables




        Cincinnati               OH              45245
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.82 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               24,828.30
        W.W. Grainger, Inc                                                Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        100 Grainger Parkway                                              Basis for the claim:
        Address
                                                                          Trade payables




        Lake Forest              IL              60045-5201
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 72 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.83 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              31,786,000.00
        Walmart Inc.                                                      Check all that apply.
        Creditor Name
                                                                          5Contingent
                                                                          5Unliquidated
        Creditor's Notice name
                                                                          5Disputed
        Matt Allen, Vice President, Finance                               Basis for the claim:
        Address
                                                                          Trade payables
        702 S.W. 8th Street




        Bentonville              AR              72716
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.84 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              Undetermined
        Walmart, Inc.                                                     Check all that apply.
        Creditor Name
                                                                          5Contingent

        Michael Guptan, Vice President Corporate Development              5Unliquidated
        Creditor's Notice name
                                                                            Disputed
        702 S.W. 8th Street                                               Basis for the claim:
        Address
                                                                          Loan Guarantee




        Bentonville              AR              72716
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 43 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 73 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.85 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 240.34
        West Termite & Pest Mgmt                                          Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        810 Spring Creek Rd                                               Basis for the claim:
        Address
                                                                          Trade payables




        Lowell                   AR              72745
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.86 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                3,862.00
        Western Pneumatics Inc                                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 21340                                                      Basis for the claim:
        Address
                                                                          Trade payables
        110 N Seneca Rd




        Eugene                   OR              97402
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 44 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 74 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.87 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $              123,697.08
        Weyerhaeuser NR Company                                           Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        200 Occidental Ave S                                              Basis for the claim:
        Address
                                                                          Trade payables




        Seattle                  WA              98104
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.88 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               10,176.60
        Wholesale Electric Supply Co., Inc.                               Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        803 S Robison Rd                                                  Basis for the claim:
        Address
                                                                          Trade payables




        Texarkana                TX              75504
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 75 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.89 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                3,250.61
        Wilkinson's, Inc. dba Wilkinson's Mall                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1212 Harrison Street                                              Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR              72032
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.90 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $               40,885.12
        Williams Scotsman, Inc                                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 91975                                                      Basis for the claim:
        Address
                                                                          Trade payables




        Chicago                  IL              60693-1975
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 46 of 49
                                 Case 23-10497-CTG             Doc 149       Filed 05/22/23              Page 76 of 101
  Debtor:   Structurlam Mass Timber U.S., Inc.                                                     Case number (if known):       23-10497
               Name

   3.91 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                4,250.10
        Winsupply Conway AR Co                                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        555 Commerce Rd                                                   Basis for the claim:
        Address
                                                                          Trade payables




        Conway                   AR              72032-7801
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.92 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                5,544.19
        WISOL GmbH                                                        Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        Schlossweiher Str. 5                                              Basis for the claim:
        Address
                                                                          Trade payables
        7320 Sargans




        City                     State            ZIP Code

        Switzerland
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 47 of 49
                                   Case 23-10497-CTG                   Doc 149          Filed 05/22/23             Page 77 of 101


Part 3:      List Others to Be Notified About Unsecured Claims

           4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
              agencies, assignees of claims listed above, and attorneys for unsecured creditors.
              If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the
              next page.

                                                                                                                                              Last 4 digits of
             Name and mailing address                                                           On which line in Part 1 or Part 2 is the
                                                                                                                                              account number, if
                                                                                                related creditor (if any) listed?
                                                                                                                                              any

          4.1 Bank of Montreal                                                                  Line 3.84
             Name                                                                                 Not Listed.Explain
             Alex Melnikov, BMO Sponsor Finance
             Notice Name

             595 Burrard Street
             Street

             6th Floor


             Vancover                  BC                   V7X 1L7
             City                      State                ZIP Code

             Canada
              Country


          4.2 Walmart, Inc.                                                                     Line 3.84
             Name                                                                                 Not Listed.Explain
             David Hollander, Senior Assoicate GC, M&A
             Notice Name

             702 S.W. 8th Street
             Street




             Bentonville               AR                   72716
             City                      State                ZIP Code



              Country


          4.3 Walmart, Inc.                                                                     Line 3.84
             Name                                                                                 Not Listed.Explain
             Matt Allen, Vice President, Finance
             Notice Name

             702 S.W. 8th Street
             Street




             Bentonville               AR                   72716
             City                      State                ZIP Code



              Country




  Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 48 of 49
                                 Case 23-10497-CTG           Doc 149         Filed 05/22/23   Page 78 of 101

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                        Total of claim amounts

5a.   Total claims from Part 1                                                                  5a.     $                        0.00


5b.   Total claims from Part 2                                                                  5b. ¬   $              47,465,534.28




5c.   Total of Parts 1 and 2                                                                    5c.     $              47,465,534.28
      Lines 5a + 5b = 5c.




  Official Form 206E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 49 of 49
                                  Case 23-10497-CTG                    Doc 149           Filed 05/22/23                Page 79 of 101


 Fill in this information to identify the case:

 Debtor Name: In re : Structurlam Mass Timber U.S., Inc.

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                   Check if this is an
 Case number (if known): 23-10497 (CTG)                                                                                                            amended filing


 Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


 1.   Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
        Form 206A/B).

                                                                                                         State the name and mailing address for all other parties with
 2.   List all contracts and unexpired leases                                                            whom the debtor has an executory contract or unexpired
                                                                                                         lease
              State what the contract or
        2.1                                                                                              CITY OF CONWAY, ARKANSAS
              lease is for and the nature     AGREEMENT FOR PAYMENTS IN LIEU OF TAXES
              of the debtor’s interest                                                                   Name

                                                                                                         BART CASTLEBERRY/MAYOR
                                                                                                         Notice Name

                                                                                                         1201 OAK STREET
              State the term remaining                                                                   Address



              List the contract number of
              any government contract


                                                                                                         CONWAY                            AR                   72032
                                                                                                         City                              State                ZIP Code


                                                                                                         Country


              State what the contract or
        2.2                                                                                              CITY OF CONWAY, ARKANSAS
              lease is for and the nature     CONWAY LEASE
              of the debtor’s interest                                                                   Name

                                                                                                         BART CASTLEBERRY/MAYOR
                                                                                                         Notice Name

                                                                                                         1201 OAK STREET
              State the term remaining                                                                   Address



              List the contract number of
              any government contract


                                                                                                         CONWAY                            AR                   72032
                                                                                                         City                              State                ZIP Code


                                                                                                         Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 4
                                  Case 23-10497-CTG                Doc 149       Filed 05/22/23             Page 80 of 101
    Debtor:    Structurlam Mass Timber U.S., Inc.                                                    Case number (if known):   23-10497
               Name
              State what the contract or
       2.3                                                                                    JC LEWIS CONSTRUCTION, LLC
              lease is for and the nature    HUDSON OFFICE BUILDING
              of the debtor’s interest                                                        Name

                                                                                              JERET FLEMING
                                                                                              Notice Name

                                                                                              155 FOREST SERVICE LOOP
              State the term remaining                                                        Address



              List the contract number of
              any government contract


                                                                                              LUFKIN                             TX       75904
                                                                                              City                               State    ZIP Code


                                                                                              Country


              State what the contract or
       2.4                                                                                    JOHN PTOLEMY
              lease is for and the nature    CONSULTING AGREEMENT
              of the debtor’s interest                                                        Name


                                                                                              Notice Name

                                                                                              ADDRESS ON FILE
              State the term remaining                                                        Address



              List the contract number of
              any government contract




                                                                                              City                               State    ZIP Code


                                                                                              Country


              State what the contract or
       2.5                                                                                    KERLIN DRAKE CONSULTING
              lease is for and the nature    CONSULTING SERVICES ENGAGEMENT LETTER
              of the debtor’s interest                                                        Name

                                                                                              KERLIN DRAKE
                                                                                              Notice Name

                                                                                              103 SUMMIT PLACE
              State the term remaining                                                        Address



              List the contract number of
              any government contract


                                                                                              EL DORADO                          AR       71730
                                                                                              City                               State    ZIP Code


                                                                                              Country




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 4
                                  Case 23-10497-CTG                Doc 149       Filed 05/22/23             Page 81 of 101
    Debtor:    Structurlam Mass Timber U.S., Inc.                                                    Case number (if known):   23-10497
               Name
              State what the contract or
       2.6                                                                                    MATTHEW KARMEL
              lease is for and the nature    CONSULTING AGREEMENT
              of the debtor’s interest                                                        Name


                                                                                              Notice Name

                                                                                              ADDRESS ON FILE
              State the term remaining                                                        Address



              List the contract number of
              any government contract




                                                                                              City                               State    ZIP Code


                                                                                              Country


              State what the contract or
       2.7                                                                                    WILLIAMS SCOTSMAN, INC. (WILLSCOT)
              lease is for and the nature    ACC-30760 (40X8 CONTAINER)
              of the debtor’s interest                                                        Name

                                                                                              PAUL MAMMARELLI
                                                                                              Notice Name

                                                                                              7424 BICENTENNIAL
              State the term remaining                                                        Address



              List the contract number of
              any government contract


                                                                                              LITTLE ROCK                        AR       72205
                                                                                              City                               State    ZIP Code


                                                                                              Country


              State what the contract or
       2.8                                                                                    WILLIAMS SCOTSMAN, INC. (WILLSCOT)
              lease is for and the nature    CL6824 (68X24 CLASSROOM)
              of the debtor’s interest                                                        Name

                                                                                              PAUL MAMMARELLI
                                                                                              Notice Name

                                                                                              7424 BICENTENNIAL
              State the term remaining                                                        Address



              List the contract number of
              any government contract


                                                                                              LITTLE ROCK                        AR       72205
                                                                                              City                               State    ZIP Code


                                                                                              Country




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                  Page 3 of 4
                                  Case 23-10497-CTG                 Doc 149      Filed 05/22/23             Page 82 of 101
    Debtor:    Structurlam Mass Timber U.S., Inc.                                                    Case number (if known):   23-10497
               Name
              State what the contract or
       2.9                                                                                    WILLIAMS SCOTSMAN, INC. (WILLSCOT)
              lease is for and the nature    MO6412 (64X12 MOBILE OFFICE)
              of the debtor’s interest                                                        Name

                                                                                              PAUL MAMMARELLI
                                                                                              Notice Name

                                                                                              7424 BICENTENNIAL
              State the term remaining                                                        Address



              List the contract number of
              any government contract


                                                                                              LITTLE ROCK                        AR       72205
                                                                                              City                               State    ZIP Code


                                                                                              Country


              State what the contract or
      2.10                                                                                    WILLIAMS SCOTSMAN, INC. (WILLSCOT)
              lease is for and the nature    SM6448 (64X48 MODULAR)
              of the debtor’s interest                                                        Name

                                                                                              PAUL MAMMARELLI
                                                                                              Notice Name

                                                                                              7424 BICENTENNIAL
              State the term remaining                                                        Address



              List the contract number of
              any government contract


                                                                                              LITTLE ROCK                        AR       72205
                                                                                              City                               State    ZIP Code


                                                                                              Country


              State what the contract or
      2.11                                                                                    WILLIAMS SCOTSMAN, INC. (WILLSCOT)
              lease is for and the nature    TT6012 (60X20 TOILET UNIT)
              of the debtor’s interest                                                        Name

                                                                                              PAUL MAMMARELLI
                                                                                              Notice Name

                                                                                              7424 BICENTENNIAL
              State the term remaining                                                        Address



              List the contract number of
              any government contract


                                                                                              LITTLE ROCK                        AR       72205
                                                                                              City                               State    ZIP Code


                                                                                              Country




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                  Page 4 of 4
                                 Case 23-10497-CTG                  Doc 149           Filed 05/22/23             Page 83 of 101


Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber U.S., Inc.

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                            Check if this is an
Case number (if known): 23-10497 (CTG)                                                                                                      amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.


1.   Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     5Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
     listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.


            Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                                  Check all schedules
           Name                                Mailing address                                                 Name
                                                                                                                                                  that apply:

       2.1 Natural Outcomes, LLC               2176 Government Street                                          Bank of Montreal                   5D
                                               Street

                                                                                                                                                    E/F


                                                                                                                                                    G


                                               Penticton                BC                      V2A 8B5
                                               City                     State                   ZIP Code



                                               Country


       2.2 SLP Holdings Ltd.                   2176 Government Street                                          Bank of Montreal                   5D
                                               Street

                                                                                                                                                    E/F


                                                                                                                                                    G


                                               Penticton                BC                      V2A 8B5
                                               City                     State                   ZIP Code



                                               Country




 Official Form 206H                                                 Schedule H: Codebtors                                                               Page 1 of 2
                               Case 23-10497-CTG                     Doc 149         Filed 05/22/23              Page 84 of 101
Debtor:   Structurlam Mass Timber U.S., Inc.                                                       Case number (if known):   23-10497
          Name
     2.3 Structurlam Mass Timber               2176 Government Street                                          Bank of Montreal         5D
         Corporation
                                               Street

                                                                                                                                          E/F


                                                                                                                                          G


                                               Penticton                 BC                    V2A 8B5
                                               City                      State                 ZIP Code



                                               Country


     2.4 Walmart Inc.                          c/o Greenberg Traurig, LLP, ATTN: Dennis A Meloro               Bank of Montreal           D
                                               Street

                                               222 Delaware Avenue,Suite 1600                                                           5 E/F


                                                                                                                                          G


                                               Wilmington                DE                    19801
                                               City                      State                 ZIP Code



                                               Country




Official Form 206H                                                   Schedule H: Codebtors                                                    Page 2 of 2
                                Case 23-10497-CTG                     Doc 149              Filed 05/22/23               Page 85 of 101
Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber U.S., Inc.

United States Bankruptcy Court for the: District of Delaware

Case number (if known): 23-10497 (CTG)



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


            Declaration and signature


           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
           individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


           5     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

           5     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


           5     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           5     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

           5     Schedule H: Codebtors (Official Form 206H)

           5     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration




           I declare under penalty of perjury that the foregoing is true and correct.


           Executed on      05/22/2023                                                  µ / s / Shawn Turkington
                            MM / DD / YYYY                                                 Signature of individual signing on behalf of debtor




                                                                                           Shawn Turkington
                                                                                           Printed name

                                                                                           Interim Chief Financial Officer

                                                                                           Position or relationship to debtor




  Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
                                             In re: Structurlam Mass Timber U.S., Inc.
                                                         Case No. 23-10497
                                                            Schedule A/B 47
                                 Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


                                                    Identification Number
                                                                       Net book value of Valuation method
                                                    (i.e. VIN, HIN or N-
                                                                       debtor's interest    used for current   Current value of
Year Make        Model                              number)            (where available)    value              debtor's interest
2013 Taylor Dunn B0-248-36 Elec. Cart                                             $2,249.74                        Undetermined
     EZ GO       Golf Cart - 6 seater                                             $1,374.98                        Undetermined
                 Golf Cart - 4 seater               A5KD2GDBAHG017806             $1,515.15                        Undetermined
                 ZT Avenger Zero Turn - Bad Boy                                   $4,615.98                        Undetermined
                                                                TOTAL:            $9,755.85             TOTAL:    Undetermined
                                                                                                                                   Case 23-10497-CTG
                                                                                                                                   Doc 149
                                                                                                                                   Filed 05/22/23
                                                                                                                                   Page 86 of 101




                                                               Page 1 of 1
                                                In re: Structurlam Mass Timber U.S., Inc.
                                                            Case No. 23-10497
                                                              Schedule A/B 50
                                                   Other machinery, fixtures, and equipment


                                                                                  Net book value of     Valuation method
                                                                                  debtor's interest     used for current   Current value of
Description                                                                       (where available)     value              debtor's interest
2016 Toyota Forklift 50000 lbs - Sturgis                                                     $17,187.23                        Undetermined
2016 Toyota Forklift 50000 lbs - Sturgis                                                      $5,215.09                        Undetermined
CLT Bay 1x5T Crane 17471, Hoist 188601 - Sturgis                                             $52,372.48                        Undetermined
CLT OMICrane20T 17472/ 4 Detroit Hoist168602,3,4,5 - Sturgis                                $214,320.51                        Undetermined
CLT Sander 3600mm wide (Imeas) - Sturgis                                                    $387,935.36                        Undetermined
CLT Sander 3600mm wide (Imeas) - Sturgis                                                     $30,024.44                        Undetermined
CLT Sander 3600mm wide (Imeas) - Sturgis                                                      $2,917.16                        Undetermined
                                                                                                                                               Case 23-10497-CTG




CLT Sander 3600mm wide (Imeas) - Sturgis                                                     $41,584.70                        Undetermined
Combilift Big Mod:C12000XLSer. 52315Cap.10,695lbs - Sturgis                                 $234,162.46                        Undetermined
Combilift Big Mod:C12000XLSer. 52315Cap.10,695lbs - Sturgis                                  $18,483.40                        Undetermined
Deal panel transport - Sturgis                                                            $2,231,021.29                        Undetermined
Deal panel transport - Sturgis                                                                    $0.00                        Undetermined
                                                                                                                                               Doc 149




Deal panel transport - Sturgis                                                                    $0.00                        Undetermined
Deal panel transport - Sturgis                                                                    $0.00                        Undetermined
Deal panel transport - Sturgis                                                                    $0.00                        Undetermined
Deal panel transport - Sturgis                                                                    $0.00                        Undetermined
Deal panel transport - Sturgis                                                                    $0.00                        Undetermined
Director Table with Stools - Sturgis                                                          $3,019.70                        Undetermined
Genie Boom Lift Z80/, ref. SCM42420 - Sturgis                                                $30,000.26                        Undetermined
                                                                                                                                               Filed 05/22/23




Glulam 5t Crane 17470C/Hoist168600 - Sturgis                                                 $55,429.24                        Undetermined
Glulam Bay 5T Crane - Sturgis                                                                $55,429.24                        Undetermined
Glulam Bay 5T Crane17470A/Hoist168599 - Sturgis                                              $55,429.24                        Undetermined
Glulam Beam Sander 4 Sided Max Size 500x1200 (Imeas) - Sturgis                              $435,550.28                        Undetermined
Glulam Beam Sander 4 Sided Max Size 500x1200 (Imeas) - Sturgis                               $37,952.48                        Undetermined
Hugg&Hall - Sturgis                                                                          $50,586.29                        Undetermined
Hugg&Hall - Sturgis                                                                          $59,293.04                        Undetermined
Hundegger K2 Machining center - Sturgis                                                   $1,759,801.05                        Undetermined
                                                                                                                                               Page 87 of 101




Hundegger K2 Machining center - Sturgis                                                           $0.00                        Undetermined
Hundegger K2 Machining center - Sturgis                                                           $0.00                        Undetermined
Hundegger K2 Machining center - Sturgis                                                           $0.00                        Undetermined
Hundegger PBA Machining center - Sturgis                                                  $1,476,695.77                        Undetermined



                                                                 Page 1 of 11
                                                   In re: Structurlam Mass Timber U.S., Inc.
                                                               Case No. 23-10497
                                                                    Schedule A/B 50
                                                         Other machinery, fixtures, and equipment


                                                                                        Net book value of     Valuation method
                                                                                        debtor's interest     used for current   Current value of
Description                                                                             (where available)     value              debtor's interest
Hundegger PBA Machining center - Sturgis                                                                $0.00                        Undetermined
Hundegger PBA Machining center - Sturgis                                                                $0.00                        Undetermined
Hundegger PBA Machining center - Sturgis                                                                $0.00                        Undetermined
Hundegger UFA Machining center - Sturgis                                                        $1,449,909.67                        Undetermined
Hundegger UFA Machining center - Sturgis                                                                $0.00                        Undetermined
Hundegger UFA Machining center - Sturgis                                                                $0.00                        Undetermined
Hundegger UFA Machining center - Sturgis                                                                $0.00                        Undetermined
                                                                                                                                                     Case 23-10497-CTG




Hundegger UFA Machining center - Sturgis                                                                $0.00                        Undetermined
Joulin CLT Vaccum Lifting System (15,000lbs) - Sturgis                                            $182,169.00                        Undetermined
Kaeser Air Compressor System - Sturgis                                                            $177,406.15                        Undetermined
Kaeser Air Compressor System - Sturgis                                                                  $0.00                        Undetermined
Kaeser Air Compressor System - Sturgis                                                                  $0.00                        Undetermined
                                                                                                                                                     Doc 149




Kaeser Air Compressor System - Sturgis                                                                  $0.00                        Undetermined
Kaeser Air Compressor System - Sturgis                                                                  $0.00                        Undetermined
Kaeser Air Compressor System - Sturgis                                                                  $0.00                        Undetermined
Kaeser Air Compressor System - Sturgis                                                                  $0.00                        Undetermined
Lift Master Boom Model: LM-1T-8-36 - Sturgis                                                        $1,813.48                        Undetermined
Long Fork T2 - Sturgis                                                                             $48,476.79                        Undetermined
Maintenance Tools - PARENT - Sturgis                                                                    $0.00                        Undetermined
                                                                                                                                                     Filed 05/22/23




Maintenance Tools - PARENT - Sturgis                                                                $2,508.00                        Undetermined
Maintenance Tools - PARENT - Sturgis                                                                $2,014.43                        Undetermined
Maintenance Tools - PARENT - Sturgis                                                                  $417.71                        Undetermined
MGLT - Sturgis                                                                                  $2,939,922.23                        Undetermined
MGLT - Sturgis                                                                                          $0.00                        Undetermined
MGLT - Sturgis                                                                                          $0.00                        Undetermined
MGLT - Sturgis                                                                                          $0.00                        Undetermined
MGLT - Sturgis                                                                                          $0.00                        Undetermined
                                                                                                                                                     Page 88 of 101




MGLT - Sturgis                                                                                          $0.00                        Undetermined
MGLT - Sturgis                                                                                          $0.00                        Undetermined
MGLT - Sturgis                                                                                          $0.00                        Undetermined
MGLT - Sturgis                                                                                          $0.00                        Undetermined



                                                                      Page 2 of 11
                                                 In re: Structurlam Mass Timber U.S., Inc.
                                                             Case No. 23-10497
                                                               Schedule A/B 50
                                                    Other machinery, fixtures, and equipment


                                                                                   Net book value of     Valuation method
                                                                                   debtor's interest     used for current   Current value of
Description                                                                        (where available)     value              debtor's interest
MGLT - Sturgis                                                                                     $0.00                        Undetermined
MGLT - Sturgis                                                                                     $0.00                        Undetermined
MGLT - Sturgis                                                                                     $0.00                        Undetermined
MGLT - Sturgis                                                                                     $0.00                        Undetermined
Minda GLT finishing A04 - Sturgis                                                          $1,469,961.12                        Undetermined
Minda GLT finishing A04 - Sturgis                                                                  $0.00                        Undetermined
Minda GLT finishing A04 - Sturgis                                                                  $0.00                        Undetermined
                                                                                                                                                Case 23-10497-CTG




Minda GLT finishing A04 - Sturgis                                                                  $0.00                        Undetermined
Minda GLT finishing A04 - Sturgis                                                                  $0.00                        Undetermined
Minda GLT finishing A04 - Sturgis                                                                  $0.00                        Undetermined
Minda GLT finishing A04 - Sturgis                                                                  $0.00                        Undetermined
Minda GLT finishing A04 - Sturgis                                                                  $0.00                        Undetermined
                                                                                                                                                Doc 149




Minda GLT package formation and pressing A03 - Sturgis                                     $2,939,922.23                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
                                                                                                                                                Filed 05/22/23




Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT package formation and pressing A03 - Sturgis                                             $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                     $1,469,961.12                        Undetermined
                                                                                                                                                Page 89 of 101




Minda GLT repair station A05 - Sturgis                                                             $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                             $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                             $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                             $0.00                        Undetermined



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                                                    In re: Structurlam Mass Timber U.S., Inc.
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                                                       Other machinery, fixtures, and equipment


                                                                                      Net book value of     Valuation method
                                                                                      debtor's interest     used for current   Current value of
Description                                                                           (where available)     value              debtor's interest
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
                                                                                                                                                   Case 23-10497-CTG




Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda GLT repair station A05 - Sturgis                                                                $0.00                        Undetermined
Minda Laying and pressing area A13 - Sturgis                                                  $4,899,870.47                        Undetermined
Minda Laying and pressing area A13 - Sturgis                                                      $1,007.10                        Undetermined
                                                                                                                                                   Doc 149




Minda Laying and pressing area A13 - Sturgis                                                          $0.00                        Undetermined
Minda Laying and pressing area A13 - Sturgis                                                          $0.00                        Undetermined
Minda Laying and pressing area A13 - Sturgis                                                          $0.00                        Undetermined
Minda MCS system - Sturgis                                                                      $489,987.00                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                       $1,959,948.24                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
                                                                                                                                                   Filed 05/22/23




Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
Minda Multi-level storage A02 - Sturgis                                                               $0.00                        Undetermined
Minda Preparation of laying and pressing area A12 (CLT Press) - Sturgis                         $489,987.00                        Undetermined
Minda Preparation of laying and pressing area A12 (CLT Press) - Sturgis                               $0.00                        Undetermined
                                                                                                                                                   Page 90 of 101




Minda Preparation of laying and pressing area A12 (CLT Press) - Sturgis                               $0.00                        Undetermined
Minda Preparation of laying and pressing area A12 (CLT Press) - Sturgis                               $0.00                        Undetermined
Minda Preparation of laying and pressing area A12 (CLT Press) - Sturgis                               $0.00                        Undetermined
Minda Preparation of laying and pressing area A12 (CLT Press) - Sturgis                           $9,760.75                        Undetermined



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                                                                                  Net book value of     Valuation method
                                                                                  debtor's interest     used for current   Current value of
Description                                                                       (where available)     value              debtor's interest
Minda Preparation of length and Cross layers A11 - Sturgis                                $1,567,958.56                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
                                                                                                                                               Case 23-10497-CTG




Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
                                                                                                                                               Doc 149




Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Preparation of length and Cross layers A11 - Sturgis                                        $0.00                        Undetermined
Minda Safety PLC A90 - Sturgis                                                              $489,987.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                 $881,976.68                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
                                                                                                                                               Filed 05/22/23




Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda Vertical curing storage A22 - Sturgis                                                       $0.00                        Undetermined
Minda/System TM crosslayer saw - Sturgis                                                    $881,976.68                        Undetermined
                                                                                                                                               Page 91 of 101




New Genie GS2632 Scissor lift, SCM42420 - Sturgis                                             $9,363.39                        Undetermined
PROPANE STORAGE - Cage Cylinder 70" Height, 60" Width, 36" Depth - Sturgis                    $3,603.08                        Undetermined
QC EQUIPMENT - PARENT - Sturgis                                                                   $0.00                        Undetermined
QC EQUIPMENT - PARENT - Sturgis                                                             $119,093.34                        Undetermined



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                                                                             Net book value of     Valuation method
                                                                             debtor's interest     used for current   Current value of
Description                                                                  (where available)     value              debtor's interest
QC EQUIPMENT - PARENT - Sturgis                                                         $18,637.03                        Undetermined
QC EQUIPMENT - PARENT - Sturgis                                                         $15,413.98                        Undetermined
QC EQUIPMENT - PARENT - Sturgis                                                         $29,599.96                        Undetermined
Racking/Storage - PARENT - Sturgis                                                           $0.00                        Undetermined
Racking/Storage - PARENT - Sturgis                                                      $44,033.45                        Undetermined
Racking/Storage - PARENT - Sturgis                                                      $11,190.38                        Undetermined
Racking/Storage - PARENT - Sturgis                                                       $1,568.65                        Undetermined
                                                                                                                                          Case 23-10497-CTG




Racking/Storage - PARENT - Sturgis                                                      $24,447.58                        Undetermined
Racking/Storage - PARENT - Sturgis                                                       $2,455.28                        Undetermined
Rex Glulam Planer - Sturgis                                                            $979,382.14                        Undetermined
Rex Glulam Planer - Sturgis                                                              $2,829.20                        Undetermined
Rex Knife Grinder - Sturgis                                                            $170,271.62                        Undetermined
                                                                                                                                          Doc 149




Rex lamella planer - Sturgis                                                           $450,643.81                        Undetermined
Rex lamella planer - Sturgis                                                            $10,536.09                        Undetermined
Rex lamella planer - Sturgis                                                             $6,369.59                        Undetermined
Rex lamella planer - Sturgis                                                               $251.29                        Undetermined
RF Tunnel - Sturgis                                                                  $1,619,715.71                        Undetermined
RF Tunnel - Sturgis                                                                          $0.00                        Undetermined
RF Tunnel - Sturgis                                                                      $3,331.64                        Undetermined
                                                                                                                                          Filed 05/22/23




Short Fork T3 - Sturgis                                                                 $48,476.79                        Undetermined
Small Tools Plant - PARENT - Sturgis                                                         $0.00                        Undetermined
Small Tools Plant - PARENT - Sturgis                                                     $3,146.68                        Undetermined
Small Tools Plant - PARENT - Sturgis                                                     $7,029.32                        Undetermined
Small Tools Plant - PARENT - Sturgis                                                     $3,069.80                        Undetermined
Small Tools Plant - PARENT - Sturgis                                                     $4,013.20                        Undetermined
Small Tools Plant - PARENT - Sturgis                                                     $2,116.78                        Undetermined
Small Tools Plant - PARENT - Sturgis                                                     $5,555.14                        Undetermined
                                                                                                                                          Page 92 of 101




System TM Cross-Cut Line # 1361 - Sturgis                                            $4,549,269.61                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined



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                                                                             Net book value of     Valuation method
                                                                             debtor's interest     used for current   Current value of
Description                                                                  (where available)     value              debtor's interest
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
                                                                                                                                          Case 23-10497-CTG




System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
                                                                                                                                          Doc 149




System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
                                                                                                                                          Filed 05/22/23




System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
                                                                                                                                          Page 93 of 101




System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined



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                                                                             Net book value of     Valuation method
                                                                             debtor's interest     used for current   Current value of
Description                                                                  (where available)     value              debtor's interest
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Cross-Cut Line # 1361 - Sturgis                                                    $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                              $4,899,870.44                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                 $16,036.48                        Undetermined
                                                                                                                                          Case 23-10497-CTG




System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
                                                                                                                                          Doc 149




System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
                                                                                                                                          Filed 05/22/23




System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
                                                                                                                                          Page 94 of 101




System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                      $0.00                        Undetermined



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                                                In re: Structurlam Mass Timber U.S., Inc.
                                                            Case No. 23-10497
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                                                                                  Net book value of     Valuation method
                                                                                  debtor's interest     used for current   Current value of
Description                                                                       (where available)     value              debtor's interest
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
                                                                                                                                               Case 23-10497-CTG




System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
                                                                                                                                               Doc 149




System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                           $0.00                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                       $9,902.34                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                       $2,374.96                        Undetermined
System TM Grading Line # 1362 - Sturgis                                                       $2,730.16                        Undetermined
                                                                                                                                               Filed 05/22/23




Toyota 8FGU25 LP Gas 5000 lbs cap. ref. SCM42920 - Sturgis                                   $11,100.03                        Undetermined
Vehicle Scale - Sturgis                                                                      $40,000.00                        Undetermined
Weima WLK8 - Ginder for Wood Waste - Sturgis                                                 $47,880.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                             $2,181,731.80                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                 $2,455.58                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                 $3,045.84                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                 $5,326.17                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                     $0.00                        Undetermined
                                                                                                                                               Page 95 of 101




Western penumatics fingerjoint line - Sturgis                                                     $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                     $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                     $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                     $0.00                        Undetermined



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                                                  In re: Structurlam Mass Timber U.S., Inc.
                                                              Case No. 23-10497
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                                                      Other machinery, fixtures, and equipment


                                                                                     Net book value of     Valuation method
                                                                                     debtor's interest     used for current   Current value of
Description                                                                          (where available)     value              debtor's interest
Western penumatics fingerjoint line - Sturgis                                                        $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                        $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                        $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                        $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                        $0.00                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                   $40,465.68                        Undetermined
Western penumatics fingerjoint line - Sturgis                                                   $82,219.25                        Undetermined
                                                                                                                                                  Case 23-10497-CTG




Western Pneumatics Dust Collection System - Sturgis                                          $2,219,293.07                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                              $2,522.55                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                              $2,180.28                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
                                                                                                                                                  Doc 149




Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
                                                                                                                                                  Filed 05/22/23




Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Dust Collection System - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Grinder and tools - Sturgis                                                 $110,266.64                        Undetermined
                                                                                                                                                  Page 96 of 101




Western Pneumatics Grinder and tools - Sturgis                                                       $0.00                        Undetermined
Western Pneumatics Grinder and tools - Sturgis                                                       $0.00                        Undetermined
Western Pneumatics Grinder and tools - Sturgis                                                       $0.00                        Undetermined
Western Pneumatics Grinder and tools - Sturgis                                                       $0.00                        Undetermined



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                                                 In re: Structurlam Mass Timber U.S., Inc.
                                                             Case No. 23-10497
                                                              Schedule A/B 50
                                                   Other machinery, fixtures, and equipment


                                                                                Net book value of     Valuation method
                                                                                debtor's interest     used for current   Current value of
Description                                                                     (where available)     value              debtor's interest
Western Pneumatics Grinder and tools - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Grinder and tools - Sturgis                                                  $0.00                        Undetermined
Western Pneumatics Grinder and tools - Sturgis                                                  $0.00                        Undetermined
                                                                         TOTAL:       $47,436,167.92              TOTAL:    Undetermined
                                                                                                                                             Case 23-10497-CTG
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                                                                               Case No. 23-10497
                                                                                Schedule A/B 55
                                                                                 Real property

                                                                                          Nature and extent of     Net book value of Valuation method
                                                                                          debtor's interest in     debtor's interest   used for current   Current value of
Description of property                                            Location of property   property                 (where available)   value              debtor's interest
2 Additional Staircases per Quote #21M11488                        Sturgis                Leasehold Improvements             $6,247.17                        Undetermined
3/4" SCH40 Pipe, for Plant Air Lines                               Sturgis                Leasehold Improvements               $334.75                        Undetermined
5/8x4x8 BC YP Plywood for Shelving                                 Sturgis                Leasehold Improvements             $1,478.21                        Undetermined
Add'd Renovation of Building                                       Sturgis                Leasehold Improvements             $1,918.68                        Undetermined
Beam Hangars, Ginding Room                                         Sturgis                Leasehold Improvements             $3,577.43                        Undetermined
Building Renovation                                                Sturgis                Leasehold Improvements            $90,847.70                        Undetermined
Building Renovation                                                Sturgis                Leasehold Improvements             $3,960.42                        Undetermined
Building Renovation                                                Sturgis                Leasehold Improvements            $21,911.75                        Undetermined
Building Renovation                                                Sturgis                Leasehold Improvements        $7,883,340.91                         Undetermined
Building Renovation                                                Sturgis                Leasehold Improvements            $63,670.72                        Undetermined
Building Renovation                                                Sturgis                Leasehold Improvements            $50,808.81                        Undetermined
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Building Renovation                                                Sturgis                Leasehold Improvements            $13,036.17                        Undetermined
Building Renovation                                                Sturgis                Leasehold Improvements            $74,987.63                        Undetermined
Cameras - IT                                                       Sturgis                Leasehold Improvements             $4,470.46                        Undetermined
Chain Link Fence, Secure Hardware Warehouse                        Sturgis                Leasehold Improvements             $6,593.60                        Undetermined
Control Tower T&M                                                  Sturgis                Leasehold Improvements            $15,037.35                        Undetermined
Conway land                                                        Sturgis                Owned                         $1,241,338.00                         Undetermined
                                                                                                                                                                              Doc 149




Dismantle & move 2x Air Makeup units                               Sturgis                Leasehold Improvements            $29,448.46                        Undetermined
Elecitic Breaker                                                   Sturgis                Leasehold Improvements            $28,218.17                        Undetermined
Electrical for Wall Fans                                           Sturgis                Leasehold Improvements            $16,981.04                        Undetermined
Elevated Platforms - Design & Drawings                             Sturgis                Leasehold Improvements          $288,978.20                         Undetermined
Elevated platforms & K2 support frame                              Sturgis                Leasehold Improvements            $16,152.47                        Undetermined
EUAFA Air Piping                                                   Sturgis                Leasehold Improvements            $13,894.70                        Undetermined
Extended Stiles Parts Warehouse                                    Sturgis                Leasehold Improvements               $845.83                        Undetermined
Fiber Optics for Internet                                          Sturgis                Leasehold Improvements            $20,002.69                        Undetermined
FIRE PUMP INSTAL EST. 5789                                         Sturgis                Leasehold Improvements            $85,151.59                        Undetermined
                                                                                                                                                                              Filed 05/22/23




Fire Suppressin System Changes                                     Sturgis                Leasehold Improvements            $20,241.99                        Undetermined
Front Entry Sign                                                   Sturgis                Leasehold Improvements            $51,345.94                        Undetermined
Handrails for Controls Building                                    Sturgis                Leasehold Improvements             $2,698.80                        Undetermined
Heating Units                                                      Sturgis                Leasehold Improvements             $3,166.74                        Undetermined
IT Cabinets and junction boxes for network`                        Sturgis                Leasehold Improvements            $79,103.31                        Undetermined
Lip-Pipe support on Hundegger PBA                                  Sturgis                Leasehold Improvements             $1,659.80                        Undetermined
Lunch Room                                                         Sturgis                Leasehold Improvements             $2,847.35                        Undetermined
Main Plant Building, Including all Infastructure- Sturgis          Sturgis                Leasehold Improvements        $5,120,983.74                         Undetermined
Main Plant Sturgis - Northwest Office                              Sturgis                Leasehold Improvements            $48,055.54                        Undetermined
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Mass Timber package Controls Building                              Sturgis                Leasehold Improvements          $154,648.30                         Undetermined
Misting Fans                                                       Sturgis                Leasehold Improvements             $5,357.04                        Undetermined
plywood 19/32 18"x48 for Shelving                                  Sturgis                Leasehold Improvements             $4,049.79                        Undetermined
Power to 28 space heaters                                          Sturgis                Leasehold Improvements            $60,216.25                        Undetermined
Provide and Install Electrical Package for New Controls Building   Sturgis                Leasehold Improvements            $76,052.06                        Undetermined
Recently Installed Heater                                          Sturgis                Leasehold Improvements             $3,977.86                        Undetermined



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                                            In re: Structurlam Mass Timber U.S., Inc.
                                                        Case No. 23-10497
                                                         Schedule A/B 55
                                                          Real property

                                                                   Nature and extent of      Net book value of Valuation method
                                                                   debtor's interest in      debtor's interest   used for current   Current value of
Description of property                     Location of property   property                  (where available)   value              debtor's interest
Renovation of Building                      Sturgis                Leasehold Improvements              $5,142.16                        Undetermined
Renovation of Building                      Sturgis                Leasehold Improvements             $24,714.92                        Undetermined
Renovation of Building                      Sturgis                Leasehold Improvements             $40,243.28                        Undetermined
Repairs to Fencing                          Sturgis                Leasehold Improvements              $1,889.56                        Undetermined
Security Gate House                         Sturgis                Leasehold Improvements             $67,277.83                        Undetermined
SERVICE,OUTSIDE,FABRICATE                   Sturgis                Leasehold Improvements                $288.37                        Undetermined
Shelving for Parts Storage                  Sturgis                Leasehold Improvements                $621.98                        Undetermined
Sprinkler System                            Sturgis                Leasehold Improvements            $784,917.30                        Undetermined
Surge Protection for MC's that run Equip.   Sturgis                Leasehold Improvements             $19,656.18                        Undetermined
TNT - Security System & Cameras             Sturgis                Leasehold Improvements              $3,195.13                        Undetermined
Transformer,Copper core                     Sturgis                Leasehold Improvements              $9,291.97                        Undetermined
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                                                                                      TOTAL:      $16,574,876.10             TOTAL:    Undetermined
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                                                 In re: Structurlam Mass Timber U.S., Inc.
                                                             Case No. 23-10497
                                                                   Schedule A/B 73
                                                     Interests in insurance policies or annuities

                                                                                                    Account number / Policy   Current value of
Company                                                Policy Type                                  number                    debtor's interest
Beazley Group                                          Professional Liability                       -                             Undetermined
Coalition Insurance                                    Cyber Liability                              C-4MHK-175254                 Undetermined
Continental Casualty                                   3rd Excess Liability                         MPR665399966                  Undetermined
Intact Financial Corporation                           D&O 2nd Excess                               5D5591495                     Undetermined
Liberty International Underwriters                     D&O 3rd Excess                               DOVAAB82MC002                 Undetermined
Miller Insurance Holdings Limited                      1st XS E&O                                   B0621PSTRU009022              Undetermined
Miller Insurance Holdings Limited                      2nd XS E&O                                   B0621PSTRU009122              Undetermined
                                                                                                                                                  Case 23-10497-CTG




Miller Insurance Holdings Limited                      Manufacturers E&O                            B0621PSTRU0088                Undetermined
QBE Insurance Group Limited                            2nd Excess Liability                         CAEX13494                     Undetermined
QBE Insurance Group Limited                            General Liability                            CGA1365578                    Undetermined
QBE Insurance Group Limited                            US General Liability                         -                             Undetermined
                                                                                                                                                  Doc 149




RSA Insurance Group                                    Boiler & Machinery                           EBI053259887                  Undetermined
RSA Insurance Group / Zurich Insurance Group           Canadian Property/Equipment                  -                             Undetermined
StarStone National Insurance Company                   1st Excess Liability                         -                             Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  026710725-01                  Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  22SLCFM11570401               Undetermined
                                                                                                                                                  Filed 05/22/23




The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  73PRX22AF82 PN316440Q         Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  76429687 UTS2570783.22        Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  795019695 PXP0000090-00       Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  7EA7XPI00l587-01              Undetermined
                                                                                                                                                  Page 100 of 101




The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  BXS0004018 0100161285-1       Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  ENSI000244                    Undetermined



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                                                             Case No. 23-10497
                                                                   Schedule A/B 73
                                                     Interests in insurance policies or annuities

                                                                                                    Account number / Policy       Current value of
Company                                                Policy Type                                  number                        debtor's interest
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  FQY-H753480-01                    Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  PAC-PR00000002-C0                 Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  PN31641lq                         Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  PN3164l0q                         Undetermined
                                                                                                                                                      Case 23-10497-CTG




The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  PN319340q                         Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  RENND21000600109                  Undetermined
The Travelers Companies, Inc.                          Directors & Officers Liability               75514927                          Undetermined
                                                                                                                                                      Doc 149




Tokio Marine Kiln                                      1st Excess Liability CDN                     B0572NA21EAXW                     Undetermined
Trisura Specialty Insurance Company                    D&O 1st Excess                               VDO1008312                        Undetermined
                                                                                                                         TOTAL:       Undetermined
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